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                                  EXHIBIT 1
                                                                               *22-000084160*
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                                                                                             *22-000084160*




                                                              CASE #:    50-2022-CA-002224
DC CAPITAL LAW FIRM, LLP
                                                              COURT:     15TH JUDICIAL CIRCUIT
                                                              COUNTY:    PALM BEACH
PLAINTIFF(S)                                                  DFS-SOP #: 22-000084160

VS.

THE HANOVER INSURANCE COMPANY

DEFENDANT(S)
_______________________________________/
SUMMONS, COMPLAINT, CIVIL COVER SHEET




                          NOTICE OF SERVICE OF PROCESS
NOTICE IS HEREBY GIVEN of acceptance of Service of Process by the Chief Financial Officer of the
State of Florida. Said process was received in my office by ELECTRONIC DELIVERY on Thursday,
March 10, 2022 and a copy was forwarded by ELECTRONIC DELIVERY on Monday, March 14, 2022
to the designated agent for the named entity as shown below.


      HANOVER INSURANCE COMPANY (THE)
      CHARLES F CRONIN
      440 LINCOLN ST
      WORCESTER, MA 01653




*Our office will only serve the initial process(Summons and Complaint) or Subpoena and is not responsible
for transmittal of any subsequent filings, pleadings, or documents unless otherwise ordered by the Court
pursuant to Florida Rules of Civil Procedure, Rule #1.080




                                                               Jimmy Patronis
                                                               Chief Financial Officer




ROBERT HUBBARD
ATTORNEY
VAKA LAW GROUP
777 S. HARBOUR ISLAND BLVD., SUITE 300
TAMPA, FL 33547                                                                                      TG1




                                 Office of the General Counsel - Service of Process Section
                    200 East Gaines Street - P.O. Box 6200 - Tallahassee, FL 32314-6200 - (850)413-4200
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                        IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                                IN AND FOR PALM BEACH COUNTY, FLORIDA
                                             CIVIL DIVISION


         DC CAPITAL LAW FIRM, LLP,

                Plaintiff,

         v.                                                           Case No.:

         THE HANOVER INSURANCE COMPANY,

                Defendant.

        _______________________________________/

                                                 COMPLAINT

               Plaintiff, DC CAPITAL LAW FIRM, LLP (“DCC”), sues Defendant, THE HANOVER

        INSURANCE COMPANY (“Hanover”), and states as follows:

                                            JURISDICTION AND VENUE

               1.      This is an action for damages in excess of $30,000, exclusive of interest, costs and

        attorney’s fees.

               2.      Plaintiff, DCC, is a Washington, D.C. limited liability partnership that transacts

        business in the State of Florida.

               3.      Defendant, Hanover, is a foreign corporation authorized to conduct the business of

        insurance in Florida and which, at all times material hereto, conducted the business of insurance

        in Palm Beach County, Florida.

               4.      Venue is proper in this Court because the cause of action accrued in Palm Beach

        County, Florida.




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                                     GENERAL ALLEGATIONS

          5.      Hanover issued a Lawyers Professional Liability Insurance Policy LHY D 795443

   00 with effective dates of December 21, 2018 through December 21, 2019 (the “Policy”). See

   attached as Exhibit “A.”

          6.      The Policy is written on a claims-made basis, meaning that coverage applies only

   to claims first made against the insureds during the policy period or any applicable extended

   reporting period.

          7.      For claims arising out of DCC’s Professional Services, the Policy provides a limit

   of liability of $1,000,000 (each claim, not to exceed $1,000,000 maximum aggregate) and a

   deductible of $10,000 (each claim).

          8.      The Policy provides in relevant part:

          I. INSURING AGREEMENTS

          A.1. Professional Services Liability

          The Insurer will pay on behalf of the Insured, Loss which the Insured is legally obligated
          to pay due to a Claim first made against the Insured during the Policy Period, or the
          Extended Reporting Period if applicable, arising from a Wrongful Act in the rendering or
          failure to render Professional Services, provided that:
          1. The Wrongful Act must have first occurred on or after the applicable Retroactive
          Date(s);
          2. The Insured had no knowledge of the Claim or facts which could have reasonably
          caused such Insured to foresee the Claim, prior to the effective date of this Policy; and
          3. The Claim or Potential Claim is reported to the Insurer pursuant to Section X.
          Reporting.

          III. DEFINITIONS

          Claim means any:
          A. Oral or written demand received by an Insured for monetary or non-monetary relief
          including injunctive relief;
          B. Civil proceeding commenced by the service of a complaint or similar pleading;
          C. Formal administrative or regulatory proceeding commenced by the filing of charges,
          formal investigative order or similar document;
          D. Arbitration or mediation proceeding commenced by the receipt of a demand for
          arbitration or mediation or similar document; or
          E. Written request first received by an Insured to toll or waive a statute of limitations
          relating    to   a    potential    Claim   described  in   A.    through    D.    above;
          Against an Insured for a Wrongful Act, including any appeal therefrom.


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          Defense Expenses means the reasonable and necessary legal fees and expenses
          including attorney fees and expert fees incurred by the Insurer or the Insured (other than
          regular or overtime wages, salaries, fees or benefits of Insured Individuals) in the
          investigation, defense, settlement and appeal of a Claim, including but not limited to cost
          of consultants and witnesses, premiums for appeal, injunction, attachment or supersedeas
          bonds regarding such Claim

          Insured means an Insured Entity and any Insured Individual.

          Insured Entity means the Named Insured and any Predecessor Firm. Insured Entity
          does not include any title agency, title insurance company or any other entity on whose
          behalf an Insured Individual acts as a title agent or designated issuing attorney.

          lnsured Individual means any past, present or future owner, partner, shareholder,
          employee, Independent Contractor, or Of Counsel attorney (including part-time,
          seasonal, leased or temporary employees), intern or volunteer of an Insured Entity while
          acting solely within his or her capacity and scope of duties on behalf of the Insured Entity,
          Named Insured, Predecessor Firm or Non-Profit Entity. …

          Loss means Defense Expenses and the amount the Insured is legally obligated to pay
          as a result of a Claim …

          VII. DEFENSE AND SETTLEMENT OF CLAIMS

          A. The Insurer shall have the exclusive right and duty to defend any Claim covered by this
          Policy even if any allegation of such Claim is groundless, false or fraudulent….

          X. REPORTING

          A. An Insured shall provide the Insurer with written notice of a Claim as soon as
          practicable after the Insured becomes aware of a Claim during the Policy Period but in
          no event later than:
          1. Sixty (60) days after the effective date of expiration or termination of the Policy; or
          2. The expiration date of the Extended Reporting Period, if applicable,
          However if the Insurer sends written notice to the Named Insured stating that this Policy
          is being terminated for nonpayment of premium, an Insured shall give the Insurer written
          notice of such Claim prior to the effective date of such termination.

   [Ex. A].

          9.      On December 27, 2018, during the Policy Period, DCC first received notice of

   claims asserted against DCC in a lawsuit filed in the U.S. District Court for the Southern District

   of Florida, captioned, Diamond Resorts International, Inc., et. al. v. US Consumer Attorneys, P.A.,

   et. al., 9:18-cv-80311 (the “Diamond Action”), currently pending in the West Palm Beach Division

   before Magistrate Judge Bruce E. Reinhart.




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           10.     A copy of the most recent complaint filed in the Diamond Action (without exhibits

    thereto) is attached as Exhibit “B.”

           11.     The following causes of action are asserted against DCC in the Diamond Action:

    (1) Contributory False Advertising in Violation of the Lanham Act; (2) Tortious Interference with

    Contractual Relations; (3) Civil Conspiracy; and (4) Violation of Florida’s Deceptive and Unfair

    Trade Practices Act.

           12.     The claims asserted against DCC in the Diamond Action were first made during

    the Policy Period and, based on the allegations in the operative complaint, fairly and potentially

    trigger coverage under the Policy’s insuring agreement for Professional Services Liability.

           13.     DCC promptly reported the Diamond Action to Hanover pursuant to the Policy’s

    Section X. Reporting, which requires written notice of a claim as soon as practicable “after the

    insured becomes aware of a claim during the Policy Period.”

           14.     As such, Hanover was obligated to defend, on behalf of DCC, the claims asserted

    in the Diamond Action.

           15.     However, by letter dated March 11, 2019, Hanover refused to provide a defense

    and improperly denied coverage for the claims asserted in the Diamond Action. See attached as

    Exhibit “C.”

           16.     As the sole basis for its denial, Hanover incorrectly asserted that the Diamond

    Action was not a claim first made against DCC during the Policy Period.

           17.     In this action, DCC seeks damages caused by Hanover’s breach of its defense

    obligations under the Policy, including but not limited to the significant fees and costs incurred by

    DCC in the defense of the Diamond Action to date.




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              18.    All conditions precedent to this action have occurred, have been performed, or have

    been excused or waived. Alternatively, Hanover has not been prejudiced by the non-occurrence

    or non-performance of any condition precedent.

              19.    DCC has been required to retain the undersigned law firm to prosecute this action

    and is obligated to pay his attorneys a reasonable fee for services provided in connection with this

    matter.

                    COUNT I – BREACH OF CONTRACTUAL DUTY TO DEFEND

              20.    Plaintiff re-alleges the allegations in paragraphs 1 though 19 as if fully set forth

    herein.

              21.    Hanover provided professional liability insurance coverage to DCC under Policy

    Number LHY D 795443 00 with effective dates of December 21, 2018 through December 21,

    2019. [Ex. A].

              22.    On December 27, 2018, during the Policy Period, DCC first received notice of the

    claims asserted in the Diamond Action.

              23.    The claims asserted against DCC in the Diamond Action were first made against

    DCC during the Policy Period and arise from one or more alleged Wrongful Acts in the rendering

    or failure to render Professional Services.

              24.    The alleged Wrongful Acts, which form the alleged basis of the Diamond Action,

    first occurred on or after the applicable Retroactive Date.

              25.    DCC had no knowledge of the claims asserted in the Diamond Action, or facts

    which could have reasonably caused DCC to foresee the Diamond Action, prior to the effective

    date of the Hanover Policy.




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           26.        DCC promptly reported the claims to Hanover pursuant to the Policy’s Section X.

    Reporting.

           27.        Pursuant to Hanover’s Policy, Hanover was obligated to perform certain duties,

    including the duty to defend DCC, because the claims asserted against DCC in the Diamond Action

    fairly and potentially implicate the coverage under the Policy and/or are covered claims for which

    no policy exclusion applies.

           28.        However, Hanover breached its duties under the terms of the Policy by failing to

    defend DCC with regard to the Diamond Action.

           29.        As a result of Hanover’s breach, DCC has suffered damages including, but not

    limited to, the significant attorney’s fees and costs incurred by DCC in defense of the Diamond

    Action to date.

           WHEREFORE, Plaintiff demands judgment against Hanover for damages, including, but

    not limited to, attorney’s fees and costs incurred by Plaintiffs in defense of the Diamond Action,

    pre- and post-judgment interest, and the costs of this action, attorney’s fees pursuant to Fla. Stat.

    §626.9373, §627.428, or similar authorizing statute, and such other relief as the Court deems

    appropriate.

                                      DEMAND FOR JURY TRIAL

           Plaintiff hereby demands a trial by jury on all issues so triable.

    DATED this 10th day of March, 2022.

                                                          Respectfully submitted,


                                                            /s/ Robert C. Hubbard
                                                          George A. Vaka, Esquire
                                                          Florida Bar No.: 374016
                                                          Robert C. Hubbard, Esquire
                                                          Florida Bar No.: 098996
                                                          VAKA LAW GROUP, P.L.

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                                             777 S. Harbour Island Blvd., Ste. 300
                                             Tampa, Florida 33602
                                             Phone: (813) 549-1799
                                             Fax: (813) 549-1780
                                             gvaka@vakalaw.com
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                                             kpeterson@vakalaw.com
                                             Counsel for Plaintiff




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THIS IS A CLAIMS-MADE COVERAGE WITH DEFENSE EXPENSES INCLUDED IN THE LIMIT OF LIABILITY.
                             PLEASE READ THE POLICY CAREFULLY.

In consideration of the premium paid, in reliance upon the statements in the Application and subject to the Declarations,
limitations, conditions, definitions and other provisions of this Policy, including endorsements hereto, the Insurer and the
Insureds agree as follows:

I.        INSURING AGREEMENTS
          A.1. Professional Services Liability
              The Insurer will pay on behalf of the Insured, Loss which the Insured is legally obligated to pay due to a
              Claim first made against the Insured during the Policy Period, or the Extended Reporting Period if
              applicable, arising from a Wrongful Act in the rendering or failure to render Professional Services, provided
              that:
              1. The Wrongful Act must have first occurred on or after the applicable Retroactive Date(s);
              2. The Insured had no knowledge of the Claim or facts which could have reasonably caused such Insured
                 to foresee the Claim, prior to the effective date of this Policy; and
              3. The Claim or Potential Claim is reported to the Insurer pursuant to Section X. Reporting.
          A.2.Subpoena Assistance Sublimit
              The Insurer will reimburse the Insured for Subpoena Response Expenses arising out of a Subpoena first
              received by an Insured during the Policy Period.
          B. Disciplinary Proceedings
              The Insurer will pay on behalf of the Insured Disciplinary Proceeding Expenses arising out of Disciplinary
              Proceedings commenced against an Insured Individual during the Policy Period.
          C. Loss of Earnings
              The Insurer will reimburse the Insured for loss of earnings due to such Insured Individual’s attendance, at
              the Insurer’s written request, at a trial, hearing, mediation, arbitration or other alternative dispute resolution
              proceeding.
          D. Crisis Event Expenses
              The Insurer will reimburse the Insured for Crisis Event Expenses arising out of a Crisis Event which first
              occurs during the Policy Period.



II.       EXTENDED REPORTING PERIODS
          The following Extended Reporting Periods apply only to Insuring Agreement I.A.1. Professional Services Liability:
          A. Automatic Extended Reporting Period
              If the Insurer or the Named Insured terminates or does not renew this Policy then the Named Insured shall
              have the right to a sixty (60) day Automatic Extended Reporting Period beginning on the effective date of
              termination or non-renewal of this Policy. There is no additional premium for the Automatic Extended
              Reporting Period. The Automatic Extended Reporting Period applies to Claims made during the Policy
              Period and reported to the Insurer during the Automatic Extended Reporting Period but only for Wrongful
              Acts committed prior to the effective date this Policy is terminated or non-renewed, and subject to all to other
              terms and conditions of this Policy.




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           If the Optional Extended Reporting Period outlined below is purchased by the Named Insured then the
           Automatic Extended Reporting Period shall not apply.
       B. Optional Extended Reporting Period
           If the Insurer or the Named Insured terminates or does not renew this Policy, other than termination by the
           Insurer for nonpayment of premium, then the Named Insured shall have the right to purchase an Extended
           Reporting Period for the period set forth in Item 5. of the Declarations beginning on the effective date of the
           termination or non-renewal of this Policy. The Named Insured must provide a written request for the
           Extended Reporting Period including payment of the additional premium, as set forth in Item 5. of the
           Declarations, within sixty (60) days following the effective date of the termination or non-renewal of this Policy.
           Additional premium paid shall be deemed fully earned as of the first day of the Extended Reporting Period
           and the Extended Reporting Period may not be cancelled.
       C. Death or Disability Extended Reporting Period
           If an Insured Individual dies or becomes totally and permanently disabled, and does not have other available
           insurance, the Insurer will issue an endorsement for an Extended Reporting Period for such Insured
           Individual of unlimited duration for no additional premium, provided:
           1. Death was not caused by a self-inflicted injury or misuse or abuse of any substance;
           2. Total and permanent disability is established after the effective date of the Policy and must be a result of
              accidental bodily injury, physical illness or disease, and not arise out of any self-inflicted injury or
              attempted suicide, or the abuse of intoxicants or controlled substances. The inability to practice law must
              be certified in writing by a physician acceptable to the Insurer.
           In the event of death, such Insured Individual’s estate, heirs, executors or administrators must, within sixty
           (60) days of the expiration of the Policy Period, provide the Insurer with written proof of the date of death.
           In the event of total and permanent disability such Insured Individual or the Insured Individual’s legal
           guardian must, within sixty (60) days of the expiration of the Policy Period, provide the Insurer with written
           proof that such Insured Individual is totally and permanently disabled including the date the disability
           commenced, certified by the Insured Individual’s physician. The Insurer shall have the right to request, and
           the Insured Individual must agree, that the Insured Individual submit to medical examinations by any
           physician designated by the Insurer at the Insurer’s expense.
       D. Non-Practicing Extended Reporting Period
           If an Insured Individual permanently retires or otherwise voluntarily ceases the practice of law the Insurer
           will issue an endorsement for an Extended Reporting Period for such Insured Individual of unlimited duration
           for no additional premium provided:
           1. The Insured Individual has been continuously insured with the Insurer for the immediately preceding
              three (3) years; and
           2. Has reached the age of 55.
           If an Insured Individual leaves the practice of law as a result of loss, suspension, revocation or surrender of
           the Insured Individual’s license because of threatened, pending or actual disciplinary action the Extended
           Reporting Periods outlined above are not available.



III.   DEFINITIONS
       Application means:
       A. Any portion of an application given to the Insurer for this Policy including any attachments, written information
          and materials provided to the Insurer by or on behalf of an Insured for the purposes of the Insurer’s
          underwriting of this Policy; and



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      B. Any warranty provided to the Insurer within the past three years in connection with any coverage part or
         Policy of which this Policy is a renewal or replacement.
      Breach Notice Law means any federal, state, local or foreign privacy legislation, regulation and their functional
      equivalent that requires an entity to provide notice to affected natural persons of any actual or potential
      unauthorized access to their Confidential Records.
      Claim means any:
      A. Oral or written demand received by an Insured for monetary or non-monetary relief including injunctive relief;
      B. Civil proceeding commenced by the service of a complaint or similar pleading;
      C. Formal administrative or regulatory proceeding commenced by the filing of charges, formal investigative order
         or similar document;
      D. Arbitration or mediation proceeding commenced by the receipt of a demand for arbitration or mediation or
         similar document; or
      E. Written request first received by an Insured to toll or waive a statute of limitations relating to a potential Claim
         described in A. through D. above;
      Against an Insured for a Wrongful Act, including any appeal therefrom.
      Computer means a device or group of hardware devices on which software, applications, script, code and
      computer programs containing Data can be operated and viewed.
      Confidential Record means:
       A. A natural person’s first name or first initial and last name in combination with:
           1. Non-public personally identifiable information, as defined in applicable federal, state, local or foreign
              legislation or regulations including, social security number, driver’s license number or other personal
              identification number (including an employee identification number or student identification number);
           2. Financial account number (including a bank account number, retirement account number or healthcare
              spending account number);
           3. Credit, debit or payment card numbers;
           4. Information related to employment by an Insured;
           5. Individually identifiable information considered nonpublic personal information pursuant to Title V of the
              Gramm-Leach Bliley Act of 1999, as amended; or
           6. Individually identifiable information considered protected health information pursuant to the Health
              Insurance Portability and Accountability Act of 1996 (HIPAA), as amended;
      B.   Trade secrets, data, designs, interpretations, forecasts, formulas, methods, practices, processes, reports or
           other information not included in 1. through 6. above;
      which is owned by an Insured or for which an Insured is legally liable and is intended by an Insured to be
                               T       4T                 4T       T




      accessible only by natural persons or entities it has specifically authorized to have such access.
      Crisis Event means:
      A. A Wrongful Act;
      B. A potential dissolution of the Named Insured;
      C. Death, serious illness or departure of a principal, partner, owner, director, executive officer, risk manager or
         in-house general counsel of the Named Insured;
      D. Incident of workplace violence; or




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      E. Another event as agreed at the sole discretion of the Insurer;
      that the Named Insured reasonably believes will have a material adverse effect upon the reputation of the
      Named Insured.
      Crisis Event Expenses means reasonable fees, costs and expenses for consulting services incurred by the
      Insured provided by a public relations firm in response to a Crisis Event.
      Cyber Attack means the transmission of fraudulent or unauthorized Data that is intended to and successfully
      modifies, alters, damages, destroys, deletes, records, transmits, or consumes information within a System
      without authorization, including Data that is self-replicating or self-propagating, and which causes the disruption of
      the normal operation of a System.
      Data means a representation of information, knowledge, facts, concepts or instructions which are being
      processed or have been processed in a Computer.
      Defense Expenses means the reasonable and necessary legal fees and expenses including attorney fees and
      expert fees incurred by the Insurer or the Insured (other than regular or overtime wages, salaries, fees or
      benefits of Insured Individuals) in the investigation, defense, settlement and appeal of a Claim, including but not
      limited to cost of consultants and witnesses, premiums for appeal, injunction, attachment or supersedeas bonds
      regarding such Claim.
      Disciplinary Proceeding means any formal administrative or regulatory proceeding by a regulatory or
      disciplinary official or agency to investigate or prosecute charges alleging professional misconduct or ethical
      violations in the performance of an Insured’s Professional Services.
      Disciplinary Proceeding Expenses means all expenses the Insurer or, with the Insurer’s prior written consent,
      the Insured incur in investigation, defense or appeal of any Disciplinary Proceeding.
      Financially Impaired means the status of an Insured resulting from:
      A. The appointment by any federal or state official, agency or court of any receiver, conservator, liquidator,
         trustee, rehabilitator or similar official to take control of, supervise, manage or liquidate an Insured; or
      B. Such Insured becoming a debtor in possession under the United States bankruptcy law or the equivalent of a
         debtor in possession under the law of any other country.
      Independent Contractor means any natural person who performs Professional Services under contract with,
      and at the sole direction and control of, an Insured, provided that such Professional Services inure to the
      benefit of the Named Insured.
      Insured means an Insured Entity and any Insured Individual.
      Insured Entity means the Named Insured and any Predecessor Firm. Insured Entity does not include any
      title agency, title insurance company or any other entity on whose behalf an Insured Individual acts as a title
      agent or designated issuing attorney.
      lnsured Individual means any past, present or future owner, partner, shareholder, employee, Independent
      Contractor, or Of Counsel attorney (including part-time, seasonal, leased or temporary employees), intern or
      volunteer of an Insured Entity while acting solely within his or her capacity and scope of duties on behalf of the
      Insured Entity, Named Insured, Predecessor Firm or Non-Profit Entity.
      Insurer means the entity issuing this Policy as designated on the Policy Declarations.
      Loss means Defense Expenses and the amount the Insured is legally obligated to pay as a result of a Claim
      including:
      A. Monetary judgments, awards or settlements, pre-judgment interest and post-judgment interest, back and front
         pay, compensatory damages;




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      B. Punitive or exemplary damages or the multiple portion of any multiplied damage award if insurable under the
         law of the jurisdiction most favorable to the insurability of such damages where such jurisdiction has a
         substantial relationship to the Insured, the Insurer, or to the Claim giving rise to such damages;
      However, Loss does not include:
          1. Any amount which an Insured is obligated to pay as a result of a Disciplinary Proceeding;
          2. Any amount which an Insured is obligated to pay as a result of a Claim seeking relief or redress for non-
             monetary damages including injunctive relief;
          3. Any amount deemed uninsurable by law; or
          4. Fines, penalties, sanctions, taxes or fees.
      Media means electronic applications, software, scripts and programs on which Data is stored so that it can be
      collected read, retrieved or processed by a Computer. Media does not mean paper, or other tangible property,
      money, debt, equity, instruments, accounts, bonds, bills, records, abstracts, deeds or manuscripts.
      Named Insured means the person or entity set forth in Item 1. of the Declarations.
      Non-Profit Entity means any entity described in section 501(c)3, 501(c)4, 501(c)7, 501(c)10, of the Internal
      Revenue Code of 1986, as amended.
      Non-Profit Services means service by an Insured Individual in a Non-Profit Entity as any director, officer,
      trustee, regent, governor, manager or member of the Board of Managers including any equivalent executive
      position of any of the foregoing but solely during the time that such service is with the knowledge and express
      consent of an Insured Entity.
      Personal Injury Offense means:
      A. Defamation of character, libel, slander, or publication of material in violation of an individual’s right of privacy;
      B. Wrongful entry or eviction or other invasion of the right of privacy; or
      C. False arrest, wrongful detention or imprisonment, malicious prosecution, malicious use or abuse of process.
      Policy Period means the period of time from the inception date shown in Item 2. of the Declarations to the earlier
      of the expiration date shown in ltem 2. of the Declarations or the effective date of termination of this Policy.
      Potential Claim means any Wrongful Act, facts or other circumstances which may subsequently give rise to a
      Claim.
      Predecessor Firm means any law firm or legal entity that, prior to the Inception Date shown in Item 2. of the
      Declarations:
      A. Is dissolved or inactive and is no longer rendering Professional Services; and
      B. Some or all of such firm’s principals, owners, officers, or partners have joined the Named Insured and more
         than fifty percent (50%) of such firm’s assets have been assigned or transferred to the Named Insured.
      Privacy Breach means:
      A. The Insured Entity’s failure to protect a Confidential Record including a Cyber Attack on the Insured’s
         Entity’s System or the actions of a Rogue Employee which directly results in the unauthorized disclosure of
         one or more Confidential Records;
      B. The theft or negligent loss of hardware, Media, System Output, Data or other documents owned or
         controlled by, or on behalf of, an Insured Entity on which Confidential Records are stored or recorded;
      C. The Insured’s negligent failure to disclose an event referenced in A. or B. above in violation of any Breach
         Notice Law; or




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      D. The Insured’s negligent violation of any applicable federal, state, foreign or local privacy legislation or
         regulation in connection with any Claim.
      Professional Services means:
      A. Services as a lawyer, mediator, arbitrator, notary public, administrator, conservator, receiver, executor,
      guardian, trustee, or in any similar fiduciary capacity, but only if the services rendered are those ordinarily
      performed by a lawyer;
      B. Services as a law clerk, paralegal, legal secretary or other legal support staff;
      C. Services (including title opinions or title certifications) performed for others for a fee as a title insurance agent,
         title abstractor, title searcher, escrow agent, or closing agent;
      D. Services as a speaker, author of legal treatises or lobbyist;
      E. Activities as a member of a formal accreditation, ethics, peer review, licensing board, standards review, bar
         association or similar professional board or committee; and
      Pro-bono services in any of the above capacities which are customarily performed for others with the knowledge
      and consent of the Named Insured.
      Professional Services does not mean
      A. Services provided as a public official or an employee or representative of a governmental body, subdivision or
         agency unless such status is due only to the legal services rendered under contract.
      B. Services rendered as a notary in which an Insured provides notarization without the signor being present;
      C. Services rendered in relation to or as the promoter, seller or solicitor of securities, real estate or other
         investments; or
      D. Any activity in the Insured’s capacity as a Certified Public Accountant, Insurance Broker or Agent or Real
         Estate Broker or Agent.
      Publishing Offense means:
      A. Oral, written, or electronic publication of material that slanders or libels a person or entity or disparages a
         person's or entity's goods, products, or services, provided that the Claim is made by a person or entity that
         claims to have been slandered or libeled, or whose goods, products, or services have allegedly been
         disparaged.
      B. Oral, written, or electronic publication of material that appropriates a person's likeness, unreasonably places a
         person in false light, or gives unreasonable publicity to a person's private life.
      Related Claims means all Claims based upon, arising from or in any way related to the same facts,
      circumstances, situations, transactions or events or the same series of facts, circumstances, situations,
      transactions or events.
      Related Wrongful Acts means Wrongful Acts which are logically or causally connected by reason of any
      common fact, circumstance, situation, transaction, casualty, event or decision.
      Rogue Employee means a permanent employee of an Insured Entity who has gained unauthorized access or
      has exceeded authorized access to a System or Confidential Records owned or controlled by the an Insured
      Entity or an entity that is authorized by an Insured to hold, process or store Confidential Records for the
      exclusive benefit of the Insured Entity.
      Security Breach means:
      A. The failure or violation of the security of the Insured Entity’s System including the impairment or denial of
         access to the Insured Entity’s System, a Cyber Attack or unauthorized acts or omissions by a Rogue
         Employee which damages or harms the Insured Entity’s System or the System of a third party with whom
         the Insured Entity provides services for a fee;



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      B. The theft or loss of hardware or Media controlled by, or on behalf of, an Insured Entity on which Data is
         stored; or
      C. The failure to disclose an event in A. or B. above which violates any Breach Notice Law.
      Subpoena means a subpoena received by an Insured for documents or testimony arising out of the Insured’s
      rendering of Professional Services provided that:
      A. The subpoena arises out of a lawsuit to which an Insured is not a party; and
      B. The Insured has not been engaged to provide advice or testimony in connection with the lawsuit or has
         provided such advice or testimony in the past.
      Subpoena Response Expenses means attorney legal fees and costs incurred by an attorney retained by the
      Insurer in response to a Subpoena. Such payments are included in the Limit of Liability and are subject to the
      Deductible. Any notice given to the Insurer of such Supoena will be deemed notification of a Potential Claim.
      System means a Computer, Media and all input, output, processing storage and communication devices
      controlled, supervised or accessed by the operation systems that are proprietary to, or licensed to, the owner of
      the Computer.
      System Output means a tangible substance on which one or more Confidential Records are printed from a
      System.
      Wrongful Act means any actual or alleged negligent act, error, omission, misstatement, misleading statement,
      breach of duty, Publishing Offense or Personal Injury Offense committed or attempted, or allegedly committed
      or attempted, or a Privacy Breach or Security Breach allowed, by an Insured in the rendering of, or failure to
      render Professional Services or Non-Profit Services. All Related Wrongful Acts shall be considered a single
      Wrongful Act and all Related Wrongful Acts will be deemed to have occurred at the time the first of such
      Related Wrongful Acts occurred whether prior to or during the Policy Period.




IV.   EXCLUSIONS
      This insurance does not apply to Loss for any Claim:
          A. Prior Notice
              Based upon, arising out of or in any way related to any Claim, Wrongful Act, investigation, proceeding,
              act, event, transaction, decision, fact, circumstance or situation which has been the subject of any notice
              given to any other Insurer, under any similar policy of which this Policy is a direct or indirect renewal or
              replacement.
          B. Retroactive Date
              Based upon, arising out of or in any way related to any act which occurred or litigation, administrative or
              arbitration proceeding, written demand pending against, or any order, decree or judgment entered prior to
              the Retroactive Date set forth in Item 4. of the Declarations.
          C. Conduct
              Based upon, arising out of or in any way related to:
              1. Any deliberate dishonest or fraudulent act or omission or willful violation of any statute or regulation
                 by an Insured; or
              2. An Insured gaining any profit, remuneration or advantage to which such Insured was not legally
                 entitled including but not limited to conversion, commingling, defalcation, misappropriation or other
                 intentional misuse or illegal use of funds, money or property;




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               However this Exclusion shall not apply to Defense Expenses unless and until a final or non-appealable
               judgment or adjudication in any underlying proceeding or action establishes an Insured committed such
               an act or omission, violation of statute or regulation or gained such profit, remuneration or advantage to
               which the Insured was not legally entitled.
               No conduct pertaining to any Insured Individual shall be imputed to any other Insured Individual for the
               purpose of determining the applicability of this Exclusion.
          D. ERISA
               For any actual or alleged violation of the responsibilities, obligations or duties imposed by the Employee
               Retirement Income Security Act of 1974, including amendments relating to the Consolidated Omnibus
               Budget Reconciliation Act of 1985 and the Health Insurance Portability and Accountability Act of 1996, all
               as amended, and any similar federal, state, local or common law or statutory law anywhere in the world,
               and any rules and regulations promulgated thereunder.
          E. Insured vs. Insured
               Brought by or on behalf of any Insured unless such Claim arises from the Insured’s rendering of
               Professional Services.
          F. Beneficiary Or Distributee of Trust or Estate
               Based upon, arising out of or in any way related to a Claim made against an Insured as a beneficiary or
               distributee of any trust or estate.
          G. Contract
               Based upon, arising out of or in any way related to liability assumed through, or on account of, any oral or
               written contract or agreement to which an Insured is a party, however this Exclusion shall not apply to
               liability that would have attached in the absence of such contract or agreement.
          H. Bodily Injury or Property Damage
               For the physical injury to or destruction of any tangible property, including loss of use of that property and
               loss of use of property that is not physically damaged; or for bodily injury, mental anguish (except mental
               anguish and emotional distress arising from Personal Injury Offense), humiliation, emotional distress,
               disability, sickness, disease, death, assault or battery sustained by any individual; however this Exclusion
               shall not apply to any Claim directly arising out of Professional Services performed as a guardian,
               conservator or committee of any person or property.
          I.   Title Insurance
               Based upon, arising out of or in any way related to:
               1. Any defects in title of which the Insured had knowledge at the date of issuance of such title insurance
                  but failed to disclose to the title insurance company;
               2. Any breach of underwriting authority in the Insured’s capacity as a Title Insurance Agent.
          J.   Employment Practices
               Based upon, arising out of or in any way related to any:
               1. Employment-related Wrongful Act;
               2. Discrimination against or sexual harassment of any third party;
               3. Federal, state, local or foreign wage and hour laws, including, without limitation, the Fair Labor
                  Standards Act.
          K. Outside Entities
               Based upon, arising out of or in any way related to any entity which is not an Insured Entity and:




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                 1. Is a publicly traded company in which an Insured holds an interest of more than five percent (5%);
                 2. Is a privately owned entity in which an Insured holds an interest of fifteen percent (15%) as a partner,
                    member, principal or stockholder or creditor;
                 3. Employs an Insured Individual;
                 4. Is directly or indirectly operated, controlled or managed by an Insured.
             L. Public Official
                 Based upon, arising out of or in any way related to any Insured’s capacity as a public official, or
                 employee of a government body, subdivision or agency, provided that this Exclusion will not apply to
                 Professional Services rendered for such government body, subdivision or agency.
             M. Management Capacity
                 Based upon, arising out of or in any way related to any Insured Individual’s capacity as a director or
                 officer of any entity other than the Named Insured, provided however this Exclusion shall not apply to the
                 Insured Individual’s capacity as a director or officer of a Non-Profit Entity.
             N. Common Office Space
                 For a Wrongful Act of any person or entity with whom the Insured shares a common office space at the
                 Insured’s premises and who is not an Insured under this Policy; or
                 Brought against and Insured if such Claim arises solely out of a Wrongful Act of any other person or
                 lawyer who is not an Insured including but not limited to claims based upon theories of partnership by
                 estoppel, apparent partnership, apparent agency, ostensible agency, vicarious liability or any similar
                 theory.
             O. False Pretenses
                 Based upon, arising out of or in any way related to the transfer, payment or delivery of funds, money or
                 property caused or induced by trick, artifice, or the fraudulent misrepresentation of a material fact
                 (including but not limited to social engineering, pretexting, phishing, spear phishing or any other
                 confidence trick).


V.       SPOUSES, DOMESTIC PARTNERS, ESTATES AND LEGAL REPRESENTATIVES
         Coverage shall extend to:
         A. A lawful spouse or domestic partner, as defined under any applicable federal, state or local law, of an Insured
            Individual solely by reason of such person’s status as spouse or domestic partner or such person’s
            ownership interest in property which the claimant seeks as recovery from an Insured Individual;
         B. The estate, heirs, legal representatives or assigns of an Insured Individual if such Insured Individual is
            deceased, legally incompetent, insolvent or bankrupt.
         Coverage shall not apply to Loss for Claims for any actual or alleged act, error, omission, misstatement,
         misleading statement, neglect or breach of duty by an Insured Individual’s spouse, domestic partner, heir,
         estate, legal representative or assigns.




VI.      INNOCENT INSUREDS
         If coverage under this Policy would be excluded, suspended or lost because any Insured concealed a Claim from
         the Insurer coverage shall apply to any other Insured who did not participate in, acquiesce in or fail to promptly
         notify the Insurer of such concealment, provided that the Insured complied with all other terms, conditions and




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        provisions of this Policy. The Insurer has the right to recover against any Insured responsible for dishonest,
        criminal, malicious or fraudulent acts, errors, omissions, discrimination, concealment or any other illegal act,
        whether or not intentional, for Loss paid pursuant to this section.




VII.    DEFENSE AND SETTLEMENT OF CLAIMS
        A. The Insurer shall have the exclusive right and duty to defend any Claim covered by this Policy even if any
           allegation of such Claim is groundless, false or fraudulent. However, if an Insured is entitled under
           applicable law to select defense counsel, then such defense counsel shall comply with the Insurer’s
           customary rates and litigation guidelines regarding billing, staffing and reporting. The Insurer has no duty to
           defend any Claim or pay Defense Expenses for Claims to which this insurance does not apply.
        B. The right and duty to defend a Claim covered under this Policy shall cease when the applicable Aggregate
           Limit of Liability for such Insuring Agreement in Item 3. of the Policy Declarations has been exhausted by the
           payment of Loss and the applicable premium shall be deemed fully earned.
        C. The Insureds shall provide all information in connection with any Claim and cooperate with the Insurer in the
           investigation, defense and settlement of any Claim.
        D. No Insured shall settle any claim, admit any liability, waive any rights or, except at the Insured’s own cost,
           voluntarily make any payment, assume any obligation, or incur any expense related to a Claim without the
           Insurer’s prior written consent.
        E. The Insurer may make any investigation it deems necessary and settle any Claim subject to the Named
           Insured’s written consent to settle which shall not be unreasonably withheld. If any Insured refuses to
           consent to the settlement of any Claim which the Insurer recommends and which is acceptable to the
           claimant, subject to the applicable Limit of Liability or Deductible, the Insurer’s liability for all Loss from such
           Claim shall not exceed:
            1. The amount the Insurer would have contributed to the settlement including Defense Expenses incurred
               up to the date of such refusal; and
            2. Eighty percent (80%) of such Loss in excess of the amount for which the Claim would have been settled.
        F. The Insurer shall not seek repayment from an Insured Individual of any Defense Expenses paid by the
           Insurer that are deemed uninsured pursuant to Exclusion C. Conduct, unless the applicable determination
           standard set forth in such Exclusion has been met.
        G. If the Insurer is prevented by law or otherwise unable to defend or investigate a Wrongful Act that occurred
           outside the United States, the Insured under our supervision may arrange for the investigation, appointment
           of counsel and defense of such Claim. Subject to the applicable Limit of Liability and Deductible, the Insurer
           will reimburse the Insured for any reasonable and necessary Defense Expenses for such Claim.




VIII.   LIMIT OF LIABILITY
        Regardless of the number of Insureds, Claims, or claimants the Insurer’s liability under this Policy is limited as
        follows:
        A. The applicable Limit of Liability for each Claim shown in Item 3.A.1. of the Declarations is the Insurer’s
           maximum liability for all Loss arising from a single Claim or Related Claims. The applicable Maximum
           Aggregate Limit of Liability shown in the Declarations is the Insurer’s maximum liability for all Loss arising
           from all Claims or Related Claims during the Policy Period.




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         B. The applicable Limit of Liability for each Subpoena in Item 3.A.2. of the Declarations is the Insurer’s
            maximum liability for all Subpoena Response Expenses arising from a single Subpoena. The applicable
            Maximum Aggregate Limit of Liability shown in the Declarations is the Insurer’s maximum liability for all
            Subpoena Response Expenses arising from all Subpoena’s during the Policy Period. Subpoena
            Response Expenses are part of and not in addition to the Professional Services Limits of Liability.
         C. The applicable Limit of Liability for each Disciplinary Proceeding shown in Item 3.B. of the Declarations is
            the Insurer’s maximum liability for all Disciplinary Proceedings Expenses arising from a single
            Disciplinary Proceeding. The applicable Maximum Aggregate Limit of Liability shown in the Declarations is
            the Insurer’s maximum liability for all Disciplinary Proceeding Expenses arising from all Disciplinary
            Proceedings during the Policy Period.
         D. The applicable Limit of Liability for loss of earnings for each day shown in Item 3.C. of the Declarations is the
            Insurer’s maximum liability for all loss of earnings each day arising from a single appearance. The applicable
            each Insured Limit of Liability for loss of earnings for each Insured shown in the Declarations is the Insurer’s
            maximum liability for all loss of earnings for each Insured arising from a single appearance. The applicable
            Maximum aggregate Limit of Liability shown in the Declarations is the Insurer’s maximum liability for all loss
            of earnings arising from all appearances during the Policy Period.
         E. The applicable Limit of Liability for each Crisis Event shown in Item 3.D. of the Declarations is the Insurer’s
            maximum liability all Crisis Event Expenses arising from a single Crisis Event. The applicable Maximum
            Aggregate Limit of Liability shown in the Declarations is the Insurer’s maximum liability for all Crisis Event
            Expenses arising from all Crisis Events during the Policy Period.
         F. Disciplinary Proceeding Expenses, Crisis Event Expenses and loss of earnings are in addition to, and not
            part of, the Professional Services Limits of Liability.




IX.      DEDUCTIBLE
         A. The Insurer’s liability under this Policy applies only to that part of covered Loss, Subpoena Response
            Expenses, Disciplinary Proceedings Expenses or Crisis Event Expenses which is in excess of the
            applicable Deductible for each Claim, Disciplinary Proceeding, appearance or Crisis Event stated in Item
            3. of the Declarations. Such Deductible shall be borne by the Insureds uninsured and at their own risk.
         B. The most an Insured will pay for covered Loss for all Claims made during the Policy Period will not exceed
            the applicable Deductible amount for all Claims stated in Item 3. of the Declarations. If the Insurer is
            required or elects to pay the applicable Deductible on behalf of the Insured, the Insured will pay such
            Deductible immediately when invoiced.
         C. If different parts of a Claim are subject to different Deductibles in different Insuring Agreements the applicable
            Deductibles will be applied separately to each part of such Claim but the sum of such Deductibles shall not
            exceed the largest applicable Deductible.




X.       REPORTING
         A. An Insured shall provide the Insurer with written notice of a Claim, Subpoena, Disciplinary Proceeding or
            Crisis Event as soon as practicable after the Insured becomes aware of a Claim, Subpoena, Disciplinary
            Proceeding or Crisis Event during the Policy Period but in no event later than:
             1. Sixty (60) days after the effective date of expiration or termination; or
             2. The expiration date of the Extended Reporting Period, if applicable,




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            However if the Insurer sends written notice to the Named Insured stating that this Policy is being terminated
            for nonpayment of premium, an Insured shall give the Insurer written notice of such Claim, Subpoena,
            Disciplinary Proceeding or Crisis Event prior to the effective date of such termination.
        B. If during the Policy Period, or an applicable Extended Reporting Period, an Insured becomes aware of a
           Potential Claim and gives the Insurer notice of such Potential Claim, then any Claim subsequently arising
           from such Potential Claim shall be deemed made against the Insured during the Policy Period in which the
           Potential Claim was first reported to, and accepted by, the Insurer provided that any such subsequent Claim
           is reported to the Insurer in accordance with paragraph A. above.
        C. An Insured must give the Insurer the assistance, information and cooperation as the Insurer may require
           and shall include in any notice of a Claim, or circumstances of a Potential Claim, a description of the Claim
           or circumstances, the nature of the alleged Wrongful Act, the nature and amount of alleged or potential
           damage, the names of actual or potential claimants, and the manner in which the Insured first became aware
           of the Claim, circumstances or alleged Wrongful Act.
            Notice of a Claim or a Potential Claim, must be provided in writing to the addresses stated in Item 8. of the
            Policy Declarations.


XI.     ALLOCATION
        If an Insured incurs Loss covered by this Policy and loss not covered by this Policy on account of any Claim
        because such Claim includes both covered and non-covered matters, coverage with respect to such Claim shall
        apply as follows:
        A. 100 percent (100%) of Defense Expenses on account of the Claim will be considered covered Loss
           provided that this shall not apply to any Insured for whom coverage is excluded pursuant to Section XXIV.
           Representations and Severability; and
        B. The Insurer shall fairly allocate all remaining loss that an Insured incurred on account of such Claim
           between covered Loss and uncovered loss based upon the relative legal exposure of the parties to such
           matters.


XII.    OTHER INSURANCE AND INDEMNITY
        If other valid and collectible insurance (other than a policy that is issued specifically as excess of this Policy) is
        available to the Insured for Loss covered under this Policy or if indemnification from a Non-Profit Entity is
        entitled to an Insured Individual, the insurance provided by this Policy shall be excess of such other insurance or
        indemnification regardless of whether or not such insurance is primary, contributory, excess contingent or whether
        such indemnification is actually made.


XIII.   RELATED CLAIMS
        All Related Claims will be considered as a single Claim made in the Policy Period or Extended Reporting
        Period in which the earliest of such Related Claims was first made or first deemed to have been made pursuant
        to this Policy. All Related Claims are subject to the Limits of Liability, Deductible and other terms and conditions
        applicable to the earliest Related Claim.


XIV.    LEGAL PROCEEDINGS
        A. No individual or entity has a right under this Policy to join the Insurer as a party or otherwise bring Insurer
           into a suit asking for damages from an Insured or to sue the Insurer on this Policy unless all of its terms have
           been fully complied with.



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      B. An individual or entity may sue the Insurer to recover an agreed settlement or on a final judgment against an
         Insured but the Insurer will not be liable for damages that are not payable under the terms of this Policy or
         that are in excess of the applicable Limit of Liability. An agreed settlement means a settlement and release of
         liability signed by Insurer, the Insured and the claimant or the claimant’s legal representative.




XV.   MATERIAL CHANGE
      A. Merger or Acquisition of Named Insured
          If during the Policy Period:
          1. The Named Insured merges with or is acquired by another individual, entity or group of individuals or
             entities where the Named Insured is not the surviving entity; or
          2. The Named Insured becomes Financially Impaired;
          this Policy shall continue until the termination or expiration of this Policy Period but only for Claims for a
          Wrongful Act which occurs prior to such event.
          The Named Insured shall notify Insurer of such transaction as soon as practicable but no later than sixty
          (60) days after the effective date of the transaction or impairment, and provide such additional information as
          the Insurer requires.
      B. Cessation of Insured Entities
          If before or during the Policy Period an Insured Entity ceases to be an Insured Entity then coverage for
          such Insured Entity and its Insured Individuals shall continue until termination or expiration of this Policy
          Period but only for Claims for a Wrongful Acts prior to the date such entity ceased to be an Insured Entity.
      C. Additional Entities or Insured Individuals
          If during the Policy Period:
          1. The number of Insured Individuals increases more than fifteen percent (15%) from the number of
             Insured Individuals at the inception of the Policy Period;
          2. The Named Insured forms another entity, acquires a group of individuals, or merges with another entity
             where the Named Insured is the surviving entity;
          then coverage for such entity and its Insured Individuals shall be provided but only for Claims for Wrongful
          Acts on or after the date such entity was formed or acquired.
          If, as a result of such formation or acquisition the total revenues of the new entity or acquisition exceeds
          twenty five percent (25%) of the revenues of the Named Insured as of the beginning of the Policy Period
          then coverage for such entity and Insured Individuals will end 90 days after the formation of such entity and
          acquisition of such individuals, or the end of the Policy Period, whichever is earlier, unless the Named
          Insured reports such acquisition to the Insurer and agrees to any amendments to the terms of this Policy,
          including but not limited to an additional premium, the Insurer may require.
      D. If during the Policy Period an Insured Individual, as a result of loss, suspension, revocation or surrender of
         the Insured Individual’s license to practice law, leaves the practice of law; then coverage for such Insured
         Individual shall be provided under this Policy for Claims reported during the Policy Period which arise from
         Wrongful Acts that occur prior to the date of the loss, suspension, revocation or surrender of such Insured
         Individual’s license.




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                                                             Professional Liability Insurance

XVI.     SUBROGATION
         In the event of any payment under this Policy the Insurer shall be subrogated to the extent of such payment to all
         of the Insured’s rights of recovery. The Insured shall execute and deliver instruments and papers and do
         whatever else is necessary to secure such rights, including the execution of such documents necessary to enable
         the Insurer to effectively bring suit or otherwise pursue subrogation rights in the name of the Insureds, and shall
         do nothing to prejudice or compromise such rights without the Insurer’s express written consent.




XVII.    TERRITORY
         This Policy applies anywhere in the world provided that the a Claim, Subpoena or Disciplinary Proceeding is
         made and brought against the Insured within the United States, its territories or possessions or Canada.




XVIII.   TERMINATION OF POLICY
         This policy will terminate upon:
         A. Twenty (20) days after written notice of termination is mailed by the Insurer based upon nonpayment of
            premium, unless such premium is paid within such twenty (20) day period;
         B. Receipt by the Insurer of written notice of termination from the Named Insured;
         C. Expiration of the Policy Period; or
         D. A date agreed upon by the Insurer and the Named Insured.




XIX.     BANKRUPTCY
         Bankruptcy of an Insured shall not relieve the Insurer of its obligations under this Policy.




XX.      VALUATION AND FOREIGN CURRENCY
         All premiums, limits, deductibles, and other amounts are expressed and payable in the currency of the United
         States of America. If a judgment is rendered, a settlement is denominated or another element of loss this Policy is
         stated in a currency other than the United States of America dollars, payment under this Policy shall be made in
         United States of America dollar equivalent determined by the rate of exchange published in the Wall Street
         Journal on the date the judgment becomes final, the amount of the settlement is agreed upon or any element of
         loss is due, respectively.




XXI.     ROLE OF NAMED INSURED
         By accepting this Policy the Named Insured agrees that it is authorized to, and will, act on behalf of all Insureds
         with respect to any rights provided under this Policy and each Insured agrees that the Named Insured shall act
         on its behalf with respect to all such matters.




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                                                                                Lawyers Advantage
                                                            Professional Liability Insurance

XXII.    TITLES AND HEADINGS
         The titles and headings in this Policy are solely for convenience and form no part of the terms and conditions of
         coverage.




XXIII.   CONFORMANCE TO LAW AND TRADE SANCTIONS
         Coverage under this Policy does not apply to the extent trade, economic sanction, insurance or other laws or
         regulations prohibit the Insurer from providing insurance. The terms of this Policy which are in conflict with the
         statutes of the state in which this Policy is issued are amended to conform to those statutes.




XXIV.    REPRESENTATIONS AND SEVERABILITY
         A. The declarations and statements in the Application for this Policy are representations and the Insurer has
            relied on such representations when issuing this Policy. Such representations are incorporated into and
            constitute part of this Policy.
             1. The Application shall be construed as a separate application by each Insured.
             2. No statement in the Application, fact pertaining to, or knowledge possessed by any Insured Individual
                shall be imputed to any other Insured Individual.
         B. If the Application contains any misrepresentations made with the intent to deceive or contains
            misrepresentations which materially affect the acceptance of the risk or the hazard assumed by the Insurer
            under this Policy, then no coverage shall be afforded for any Claim based upon arising from or in
            consequence of any such misrepresentation with respect to:
             1. Any Insured Individual who knew of such misrepresentations (whether or not such individual knew such
                Application contained such misrepresentations) or any Insured Entity to the extent it indemnifies any
                such Insured Individual; or
             2. Any Insured Entity if any past or present President, Chief Executive Officer, Chief Financial Officer,
                Managing Partner or Chief Information Officer (or any equivalent position) of the Insured Entity knew of
                such misrepresentation (whether or not such individual knew such Application contained such
                misrepresentations).




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                                                                                   POLICYHOLDER NOTICE



                                    U.S. Treasury Department’s
                            Office of Foreign Assets Control (”OFAC”)
                                 Advisory Notice To Policyholders

  No coverage is provided by this policyholder notice nor can it be construed to replace any provisions of your
  policy. You should read your policy and review your Declarations page for complete information on the coverages
  you are provided.
  This notice provides information concerning possible impact on your insurance coverage due to directives issued
  by OFAC. Please read this notice carefully.
  The Office of Foreign Assets Control (“OFAC”) administers and enforces sanctions policy, based on Presidential
  Declarations of National Emergency.
  OFAC has identified and listed numerous foreign agents, front organizations, terrorists, terrorists organizations,
  and narcotic traffickers as "Specially Designated Nationals and Blocked Persons". This list can be located on the
  United States Treasury's web site: http//www.treas.gov/ofac.
  In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
  claiming the benefits of this insurance has violated United States sanctions law or is a Specially Designated
  National and Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen
  contract and all provisions of this insurance are immediately subject to OFAC. When an insurance policy is
  considered to be such a blocked or frozen contract, no payments nor premium refunds may be made without
  authorization from OFAC.
  Other limitations on the premiums and payments also apply.




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                                                                                      POLICYHOLDER NOTICE




    CUSTOMER NOTICE OF PRIVACY POLICY AND PRODUCER COMPENSATION
         PRACTICES DISCLOSURES—PRIVACY POLICY DISCLOSURE

Collection of Information
We collect personal information so that we may offer quality products and services. This information may include, but is
not limited to, name, address, Social Security number, and consumer reports from consumer reporting agencies in
connection with your application for insurance or any renewal of insurance. For example, we may access driving records,
insurance scores or health information. Our information sources will differ depending on your state and/or the product or
service we are providing to you. This information may be collected directly from you and/or from affiliated companies, non-
affiliated third parties, consumer reporting agencies, medical providers and third parties such as the Medical Information
Bureau.
We, and the third parties we partner with, may track some of the web pages you visit through cookies, pixel tagging or
other technologies. We currently do not process or comply with any web browser’s “do not track” signals or similar
mechanisms that request us to take steps to disable online tracking. For additional information regarding online privacy,
please see our online privacy statement, located at www.hanover.com.


Disclosure of Information
We may disclose non-public, personal information you provide, as required to conduct our business and as permitted or
required by law. We may share information with our insurance company affiliates or with third parties that assist us in
processing and servicing your account. We also may share your information with regulatory or law enforcement agencies,
reinsurers and others, as permitted or required by law.
Our insurance companies may share information with their affiliates, but will not share information with non-affiliated third
parties who would use the information to market products or services to you.
Our standards for disclosure apply to all of our current and former customers.


Safeguards to Protect Your Personal Information
We recognize the need to prevent unauthorized access to the information we collect, including information held in an
electronic format on our computer systems. We maintain physical, electronic and procedural safeguards intended to
protect the confidentiality and integrity of all non-public, personal information, including but not limited to social security
numbers, driver’s license numbers and other personally identifiable information.


Internal Access to Information
Access to personal, non-public information is limited to those people who need the information to provide our customers
with products or services. These people are expected to protect this information from inappropriate access, disclosure and
modification.


Consumer Reports
In some cases, we may obtain a consumer report in connection with an application for insurance. Depending on the type
of policy, a consumer report may include information about you or your business, such as:
x    character, general reputation, personal characteristics, mode of living;
x    credit history, driving record (including records of any operators who will be insured under the policy); and/or
x    an appraisal of your dwelling or place of business that may include photos and comments on its general condition.



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                                                                                            POLICYHOLDER NOTICE


Access to Information
Upon written request, we will inform you if we have ordered an investigative consumer report. You have the right to make
a written request within a reasonable period for information concerning the nature and scope of the report and to be
interviewed as part of its preparation. You may obtain a copy of the report from the reporting agency and, under certain
circumstances, you may be entitled to a copy at no cost.
You also may review certain information we have about you or your business in our files. To review information we
maintain in our files about you or your business, please write to us, providing your complete name, address and policy
number(s), and indicating specifically what you would like to see. If you request actual copies of your file, there may be a
nominal charge.
We will tell you to whom we have disclosed the information within the two years prior to your request. If there is not a
record indicating that the information was provided to another party, we will tell you to whom such information is normally
disclosed.
There is information that we cannot share with you. This may include information collected in order to evaluate a claim
under an insurance policy, when the possibility of a lawsuit exists. It may also include medical information that we would
have to forward to a licensed medical doctor of your choosing so that it may be properly explained.


Correction of Information
If after reviewing your file you believe information is incorrect, please write to the consumer reporting agency or to us,
whichever is applicable, explaining your position. The information in question will be investigated. If appropriate,
corrections will be made to your file and the parties to whom the incorrect information was disclosed, if any, will be
notified. However, if the investigation substantiates the information in the file, you will be notified of the reasons why the
file will not be changed. If you are not satisfied with the evaluation, you have the right to place a statement in the file
explaining why you believe the information is incorrect. We also will send a copy of your statement to the parties, if any, to
whom we previously disclosed the information and include it in any future disclosures.


Our Commitment to Privacy
In the insurance and financial services business, lasting relationships are built upon mutual respect and trust. With that in
mind, we will periodically review and revise our privacy policy and procedures to ensure that we remain compliant with all
state and federal requirements. If any provision of our privacy policy is found to be non-compliant, then that provision will be
modified to reflect the appropriate state or federal requirement. If any modifications are made, all remaining provisions of this privacy
policy will remain in effect. For more detailed information about our customer privacy policy (including any applicable state-
specific policies) and our online privacy statement, visit our Web site, located at www.hanover.com.


Further Information
If you have questions about our customer privacy policy (including any applicable state-specific policies) or our online
privacy statement, or if you would like to request information we have on file, please write to us at our Privacy Office,
N435, The Hanover Insurance Group, Inc., 440 Lincoln Street, Worcester, MA 01653. Please provide your complete
name, address and policy number(s). A copy of our Producer Compensation Disclosure is also available upon written
request addressed to the attention of the Corporate Secretary, N435, The Hanover Insurance Group, 440 Lincoln Street,
Worcester, MA 01653.


                                              Producer Compensation Disclosure
Our products are sold through independent agents and brokers, often referred to as “Producers.” We may pay Producers
a fixed commission for placing and renewing business with our company. We may also pay additional commission and
other forms of compensation and incentives to Producers who place and maintain their business with us. Details of our
Producer compensation practices may be found at www.hanover.com.




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                                                                             POLICYHOLDER NOTICE

This notice is being provided on behalf of the following Hanover Companies: The Hanover Insurance Group, Inc. -
Allmerica Financial Alliance Insurance Company - Allmerica Financial Benefit Insurance Company - Allmerica Plus
Insurance Agency, Inc. - Citizens Insurance Company of America - Citizens Insurance Company of Illinois - Citizens
Insurance Company of the Midwest - Citizens Insurance Company of Ohio - Citizens Management, Inc. - AIX Ins.
Services of California, Inc.- Campania Insurance Agency Co. Inc. - Campmed Casualty & Indemnity Co. Inc. - Chaucer
Syndicates Limited- Educators Insurance Agency, Inc.- Hanover Specialty Insurance Brokers, Inc. - The Hanover
American Insurance Company - The Hanover Insurance Company - The Hanover New Jersey Insurance Company - The
Hanover National Insurance Company - Hanover Lloyd's Insurance Company - Massachusetts Bay Insurance Company -
Opus Investment Management, Inc. - Professionals Direct Insurance Services, Inc. -Professional Underwriters Agency,
Inc. - Verlan Fire Insurance Company - Nova Casualty Company - AIX Specialty Insurance Company.




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                                                                                       POLICYHOLDER NOTICE




                                   CLAIM REPORTING GUIDELINES


  At Hanover Professionals, we are committed to providing timely and efficient claims assistance to our Insureds.
  Please follow these guidelines to help us help you.

  Notice of a Claim
  Report a claim to Hanover Professionals by email, facsimile or online as soon as possible to provide timely notice
  as required by your Hanover Policy. Contact us at:

                        Phone: 800.628.0250 (ext. 8556281) Fax: 508.926.4789

        You may also email us directly at lawyerclaim@hanover.com or online at www.hanover.com/hpro/pli.

  Claims Requiring Expedited Handling
  Some claims are time sensitive. Please report such claims as soon as you become aware of them, and while
  allowing sufficient time for the carrier to investigate and meaningfully respond. Do not wait until the eve of the
  response deadline as it threatens our ability to timely respond. Those items include, but are not limited to:
  You have been served with a summons and complaint
     You received a demand from a Claimant which expires on a date certain
     You received notice of a proceeding requiring an immediate answer or an answer within a limited timeframe

  Correspondence We Need From You
  Please provide a written narrative of the circumstances surrounding the claim or potential claim. The narrative
  should include:
     The Named Insured
     The Insureds (i.e., the lawyers involved in the professional services issue), your policy number, and effective
      date of coverage
     The client (Claimant’s) name, address, and telephone number (also include the name, address, and
      telephone number of the Claimant’s attorney)
     The timeframe in which you provided professional services to the Claimant
     Whether your relationship with the Claimant is ongoing or has been terminated
     A brief summary of the services rendered
     The date the error (alleged error) occurred
     A brief summary of the alleged (potential) error - please include the date you first became aware of the claim
      and the potential amount of damages that will be sought
   All pertinent letters or documents necessary for us to properly evaluate the claim (if there are numerous
      documents, please note this and provide those most pertinent)




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                                                                      POLICYHOLDER NOTICE




                          INFORMATION REGARDING
                  EXTENDED REPORTING PERIOD ENDORSEMENT
                             ("TAIL COVERAGE")


  The enclosed policy provides coverage for claims reported during the policy period. Subject to
  the policy's terms and conditions, your firm and/or each of the individual firm members may
  purchase an Extended Reporting Period Endorsement, also known as "tail coverage", that will
  extend the time for reporting claims arising out of professional services rendered while the
  policy was still in effect although the policy may have been cancelled or non-renewed, or when
  a firm member leaves the firm or the practice of law.

  The premium charged for the endorsement is expressed as a factor of your policy's annual
  premium.

   Length of "Tail Coverage" Offered         "Tail Coverage" Premium
          12 months coverage                 1.00 of last annual premium
          24 months coverage                 1.50 of last annual premium
          36 months coverage                 1.75 of last annual premium
          60 months coverage                 2.00 of last annual premium
          84 months coverage                 2.50 of last annual premium
           Unlimited coverage                3.00 of last annual premium
  *Extended Reporting Period Endorsements may be subject to state regulatory requirements.

  Please contact your agent or customer service representative for pricing specific to your
  situation and location.




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                                                                                                       Endorsement

     Coverage: Lawyers Professional Liability                             Endorsement Number: 1

     Issued To: DC Capital Law                                            Policy Number: LHY-D795443-00

     Issued By: The Hanover Insurance Company                             Effective Date: 12/21/2018




                                          SCHEDULE OF FORMS


     To be attached to and form part of the Policy Number listed above.

    913-1901 05/18             Lawyers Advantage Professional Liability RPG Declarations
    913-1001 Index 02/17       Lawyers Advantage Professional Liability Policy Index
    913-1001 02/17             Lawyers Advantage Professional Liability Policy
    913-1800 PHN 01/16         U.S. Treasury Department's Office of Foreign Assets Control ("OFAC") Advisory Notice
                               to Policyholders
    913-1801 PHN 01/16         Customer Notice of Privacy Policy and Producer Compensation Practices Disclosures -
                               Privacy Policy Disclosure
    913-1817 PHN 01/16         Claim Reporting Guidelines
    913-1818 PHN 01/16         Information Regarding Extended Reporting Period Endorsement ("Tail Coverage")
    913-1011 01/16             Schedule of Forms
    913-1014 01/16             Excluded Entity
    913-1103DC 01/16           Pre-Claim Assistance Coverage (District of Columbia)
    913-1621 01/16             District of Columbia State Amendatory Endorsement
    913-1902 05/18             USI Affinity Lawyers Liability




All other terms and conditions remain unchanged. The title and any headings in this endorsement are solely for
convenience and form no part of the terms and conditions of coverage.



Form 913 1011 01/16                                                                                        Page 1 of 1
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                                                                                                         Endorsement

     Coverage: Lawyers Professional Liability                               Endorsement Number: 1

     Issued To: DC Capital Law                                              Policy Number: LHY-D795443-00

     Issued By: The Hanover Insurance Company                               Effective Date: 12/21/2018




                                             EXCLUDED ENTITY


     In consideration of the premium charged it is agreed that:

     The following entities are excluded from coverage under this Policy.

     Entity(ies)

       Newton Group




All other terms and conditions remain unchanged. The title and any headings in this endorsement are solely for
convenience and form no part of the terms and conditions of coverage.



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                                                                                                       Endorsement

     Coverage: Lawyers Professional Liability                             Endorsement Number: 2

     Issued To: DC Capital Law                                            Policy Number: LHY-D795443-00

     Issued By: The Hanover Insurance Company                             Effective Date: 12/21/2018




          PRE-CLAIM ASSISTANCE COVERAGE (DISTRICT OF COLUMBIA)


     In consideration of the premium charged it is agreed that:

     A. Item 3.A. Insuring Agreements of the Declarations is amended to include:

         Pre-Claim Assistance      $1,000,000 each Claim not to exceed;                   $10,000 each Claim
         Sublimit
                                   $1,000,000     Maximum Aggregate



     B. Section I.A. Insuring Agreements is amended to include:
         Pre-Claim Assistance
         The Insurer, at its discretion will reimburse the Insured for Pre-Claim Expenses arising out of a Potential
         Claim first reported to the Insurer during the Policy Period until the date a Claim arising out of such Potential
         Claim is first made against the Insured.
     C. Section III. Definitions is amended to include:
         Pre-Claim Expense means costs or expenses incurred by the Insurer at its discretion to investigate a
         Potential Claim.
     D. Section VIII. Limit of Liability is amended to include:
         Pre-Claim Expenses are part of and not in addition to the Professional Services Limits of Liability.
     E. Section IX.A. Deductible is deleted and replaced by:
         The Insurer’s liability under this Policy applies only to that part of covered Loss, Subpoena Response
         Expenses, Disciplinary Proceedings Expenses, Crisis Event Expenses or Pre-Claim Expenses which is in
         excess of the applicable Deductible for each Claim, Disciplinary Proceeding, appearances Crisis Event or
         Pre-Claim Expense stated in Item 3. of the Declarations. Such Deductible shall be borne by the Insured’s
         uninsured and at their own risk.




All other terms and conditions remain unchanged. The title and any headings in this endorsement are solely for
convenience and form no part of the terms and conditions of coverage.



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                                                                                                        Endorsement

     Coverage: Lawyers Professional Liability                              Endorsement Number: 3

     Issued To: DC Capital Law                                             Policy Number: LHY-D795443-00

     Issued By: The Hanover Insurance Company                              Effective Date: 12/21/2018




           DISTRICT OF COLUMBIA STATE AMENDATORY ENDORSEMENT

     In consideration of the premium charged it is agreed that:

     A. Section III.E. of the definition of Crisis Event is amended to delete the word “sole.”
     B. Section XVIII. Termination of Policy is deleted and replaced by:
           XVIII.   TERMINATION OF POLICY
                    A. This Policy will terminate upon:
                        1. Thirty (30) days after the Insurer mails written notice of termination to the Named Insured,
                           based upon any reason if this Policy has been in effect for thirty (30) days or less and is not a
                           renewal of a policy issued by the Insurer;
                     2. Thirty (30) days after the Insurer mails written notice of termination to the Named Insured, for
                        only one or more of the following reasons if this Policy has been in effect for thirty (30) days or
                        more, or is a renewal of a policy issued by the Insurer:
                         a. The Insured has refused or failed to pay a premium due under the terms of the Policy;
                         b. The Insured has made a material and willful misstatement or omission of fact to the Insurer
                            or its employees, agents or brokers in connection with any application to or Claim against
                            the Insurer;
                         c.   The property or other interest of the Insured shall have been transferred to a person other
                              than the Insured or beneficiary, unless the transfer is permissible under the terms of the
                              Policy, or unless the property, interest or use thereof shall have materially changed with
                              respect to its insurability.
                        3. Receipt by the Insurer of written notice of termination from the Named Insured;
                        4. Expiration of the Policy Period; or
                        5. A date agreed upon by the Insurer and the Named Insured.
                    B. This Policy may be non-renewed by the Insurer by sending written notice to the Named Insured
                       not less than thirty (30) days prior to the expiration of the Policy Period.
                    C. Notice of termination or nonrenewal will be mailed to the Named Insured by first class mail to the
                       last mailing address known to the Insurer, with a statement of the specific reasons for
                       termination. A copy of such notice will be sent to the agent of record at least five (5) days before
                       mailing of the notice to the Insured.

All other terms and conditions remain unchanged. The title and any headings in this endorsement are solely for
convenience and form no part of the terms and conditions of coverage.



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                                                                 Risk Purchasing Group Endorsement


     Coverage: Lawyers Professional Liability                            Endorsement Number: 4

     Issued To: DC Capital Law                                           Policy Number: LHY-D795443-00

     Issued By: The Hanover Insurance Company                            Effective Date: 12/21/2018




                                 USI AFFINITY LAWYERS LIABILITY

    In consideration of the premium charged it is agreed that:

    A. Section I. Insuring Agreements is amended to include:
        E. Breach Event Expenses and Cyber Investigation Expenses
            The Insurer will pay on behalf of the Insured, Breach Event Expenses directly resulting from a Privacy
            Breach or Security Breach, and Cyber Investigation Expenses directly resulting from a Regulatory
            Investigation regarding a Privacy Breach or Security Breach, in the rendering or failure to render
            Professional Services, first discovered by the Insured during the Policy Period, provided that:
            1. The Privacy Breach or Security Breach must have first occurred on or after the applicable Retroactive
               Date(s);
            2. The Insured had no knowledge of the Privacy Breach or Security Breach or facts which could have
               reasonably caused such Insured to foresee the Privacy Breach or Security Breach, prior to the
               effective date of this Policy; and
            3. The Privacy Breach or Security Breach is reported to the Insurer pursuant to Section X. Reporting.
        F. Reputation Protection Expense
            The Insurer will reimburse the Insured up to fifty (50%) percent of Reputation Event Expenses the Insured
            incurs responding to a Reputation Event in the rendering or failure to render Professional Services,
            provided that:
            1. The Reputation Event must have first occurred on or after the applicable Retroactive Date(s);
            2. The Insured had no knowledge of the Reputation Event or facts which could have reasonably caused
               such Insured to foresee the Reputation Event, prior to the effective date of this Policy; and
            3. The Reputation Event is reported to the Insurer pursuant to Section X. Reporting.
        G. Withheld Client Fee Assistance
            If the Insured attempts to collect a fee due for Professional Services that the Insured’s client has refused
            to pay for more than three (3) months from the time payment was due (“Withheld Client Fee”) and:
            1. As a result of such collection attempts, the client brings an otherwise covered Claim during the Policy
               Period alleging a Wrongful Act in the rendering or failure to render Professional Services for an
               amount greater than owed to the Named Insured; and
            2. The Professional Services were rendered under a fully executed engagement letter with the client,
               which includes fee arrangements and outlines the scope of representation; and
            3. The Insured provides the Insurer written confirmation from the client, acceptable to the Insurer, that
               the client will withdraw the Claim (“written confirmation”);
            then the Insurer will reimburse one hundred percent (100%) of the Withheld Client Fee.




Form 913 1902 05/18                                                                                        Page 1 of 7
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                                                                  Risk Purchasing Group Endorsement


     Coverage: Lawyers Professional Liability                             Endorsement Number: 4

     Issued To: DC Capital Law                                            Policy Number: LHY-D795443-00

     Issued By: The Hanover Insurance Company                             Effective Date: 12/21/2018


    B. Section II. D. Non-Practicing Extended Reporting Period is amended to include:
        For purposes of determining eligibility for the Non-Practicing Extended Reporting Period, full years continuously
        insured with the USI Affinity Insurance Program shall be considered years with the Insurer.
    C. Section III. Definitions is amended to include:
        Breach Event Expenses means the reasonable and necessary expenses incurred for a stipulated period of time,
        from the date a Security Breach or Privacy Breach is first discovered by an Insured:
        A. To conduct an investigation and forensic analysis to determine the cause of a covered Security Breach or
           Privacy Breach;
        B. To determine and notify the individuals whose Confidential Records were accessed or acquired including,
           but not limited to, the cost of mailing, printing, advertising and other communications;
        C. To establish a call center to be used by individuals whose Confidential Records were accessed or acquired;
        D. For credit or identity monitoring or identity theft education assistance including fees, costs or expenses
           associated with the purchase of an identity fraud insurance policy to benefit individuals whose Confidential
           Records were accessed or acquired;
        E. To retain a public relations crisis management or law firm as consultants to minimize harm directly arising
           from a covered Security Breach or Privacy Breach; or
        F. For any other expenses or services pre-approved in writing by the Insurer at the Insurer’s sole and absolute
           discretion.
        Crisis Management Firm means a service provider hired by the Named Insured and approved in writing by the
        Insurer. The Insurer’s consent will not be unreasonably withheld.
        Cyber Investigation Expenses means all expenses the Insurer incurs or authorizes in writing for the
        investigation, adjustment, defense or appeal of a Regulatory Investigation.
        Mediation means the non-binding intervention of a qualified neutral third party chosen by the Named Insured,
        with agreement by the Insurer, and the other party to a Claim.
        Regulatory Investigation means a formal request for information, civil investigative demand or civil proceeding,
        including requests for information related thereto, brought by, or on behalf of, a state Attorney General, the
        Federal Trade Commission, the Federal Communications Commission or any other federal, state, local or foreign
        governmental agency.
        Reputation Event means a Wrongful Act(s) that the Named Insured reasonably believes will have material,
        adverse impact on the Named Insured’s reputation resulting in a loss of revenues because of diminished
        customer confidence based on unfavorable information made available by or appearing on:
        A. Social media;
        B. Television or radio broadcasts; or
        C. Newspapers;
        provided such written media was in general circulation and such electronic media was available to the public on
        a fully open network that was neither password protected nor restricted from access by any method.
        Reputation Event Expenses means the reasonable fees, costs, and expenses incurred by the Named Insured



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                                                                      Risk Purchasing Group Endorsement


     Coverage: Lawyers Professional Liability                                 Endorsement Number: 4

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        for consulting services performed by a Crisis Management Firm, as a result of a Reputation Event.
    D. Section IV. Exclusions is amended to include:
        Exclusions Applicable to Breach Event Expenses and Cyber Investigation Expenses above:
        This insurance does not apply to Loss for any Claim, or for any Breach Event Expenses or Cyber Investigation
        Expenses:
           A. Prior Notice
                 Based upon, arising out of or in any way related to any Security Breach, Privacy Breach, investigation,
                 proceeding, act, event, transaction, decision, fact, circumstance or situation which has been the subject
                 of any notice given to any other insurer under any similar policy of which this Policy is a direct or indirect
                 renewal or replacement.
            B. Retroactive Date
                 Based upon, arising out of or in any way related to any Security Breach, Privacy Breach, investigation,
                 proceeding, act, event, result, damage, transaction, decision, fact, circumstance or situation which
                 occurred, in whole or in part, prior to the applicable Retroactive Date set forth in Item 4. of the Declarations
                 Page.
            C. Assumed Obligations
                 Costs or expenses incurred to perform any obligation assumed by, on behalf of, or with the consent of
                 any Insured; however, this Exclusion shall not apply to Breach Event Expenses.
            D. Return of Payments
                 Return of fees, charges, commissions or other compensation paid to an Insured.
            E. Investigations
                 Costs, fees or expenses incurred or paid by any Insured in establishing the existence of, or amount of
                 loss, however this Exclusion shall not apply to Breach Event Expenses for the retention of an information
                 security forensic investigator or forensic accountant.
            F. System Changes
                 Costs or expenses incurred to replace, upgrade, update, improve, or maintain any System.
            G. Non-monetary Relief
                 Costs of compliance with any order for, grant of or agreement to provide non-monetary relief, including
                 injunctive relief.
            H. Taxes, Fines and Penalties
                 Fines or penalties imposed by law, taxes or liquidated damages.
            I.   Potential Income
                 Potential income, including interest or dividends, not realized by any Insured.




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            J.   Uniform Commercial Code
                 Loss, costs or expenses any Insured agrees to incur or incurs on behalf of another natural person or
                 entity when such Insured is not obligated to incur such loss, costs or expenses under the Uniform
                 Commercial Code or any other law, statute, rule or code anywhere in the world, including the rules or
                 codes of any clearing or similar entity, provided that this Exclusion does not apply to Insuring Agreement
                 Breach Event Expenses.
            K. Consequential Loss
                 Loss, costs or expenses based upon, arising from or in consequence of an indirect or consequential loss
                 of any nature.
            L. Malfunction or Error
                 Loss, costs or expenses resulting from mechanical failure, faulty construction, error in design, latent
                 defect, wear or tear, gradual deterioration, electrical disturbance, Media failure or breakdown or any
                 malfunction or error in programming, or error or omission in processing.
    E. Section VII. Defense and Settlement of Claims, paragraphs. A. and E. are deleted and replaced by:
        A. The Insurer shall have the exclusive right and duty to defend any Claim covered by this Policy even if any
           allegation of such Claim is groundless, false or fraudulent. However, if an Insured is entitled under
           applicable law to select defense counsel, then such defense counsel shall comply with the Insurer’s
           customary rates and litigation guidelines regarding billing, staffing and reporting. The Insured may
           recommend counsel to the Insurer and such acceptance will not be unreasonably withheld, provided such
           counsel agrees with the Insurer’s customary rates and litigation guidelines regarding billing, staffing and
           reporting. The Insurer has no duty to defend any Claim or pay Defense Expenses for Claims to which
           this insurance does not apply.
        E. The Insurer may make any investigation it deems necessary and settle any Claim subject to the Named
           Insured’s written consent to settle which shall not be unreasonably withheld. The Insurer’s duty to defend
           any Claim or pay any amount as Damages, Claim Expenses, Subpoena Response Expenses,
           Disciplinary Proceedings Expenses, loss of earning, Crisis Event Expenses, Withheld Client Fee and
           Reputation Protection Expenses will cease when the Insurer’s applicable Limit of Liability has been
           exhausted. Upon exhaustion of the applicable Limit of Liability, the Insurer will tender control of the defense
           to the Named Insured. The Named Insured agrees to accept this tender of defense.
    F. Section VIII. Limit of Liability, paragraph F. is deleted and replaced by:
        F. Disciplinary Proceeding Expenses, Crisis Event Expenses, Breach Event Expenses, Cyber
           Investigation Expenses, Reputation Protection Expenses, Withheld Client Fee and loss of earnings are
           in addition to, and not part of, the Professional Services Limit of Liability.
    G. Section VIII. Limit of Liability is amended to include:
        Regardless of the number of Insureds, Claims, or claimants, the Insurer’s liability under this Policy is limited as
        follows:
        G. The applicable Limit of Liability for each Breach Event Expense or Cyber Investigation shown in Item 3 E.
           of the Declarations is the Insurer’s maximum liability for all Breach Event Expenses and Cyber
           Investigations arising from a single Privacy Breach or Security Breach. The applicable Maximum
           Aggregate Limit of Liability shown in the Policy Declarations is the Insurer’s maximum liability for all Breach



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              Event Expenses and all Cyber Investigations arising from all Privacy Breaches or Security Breaches
              during the Policy Period.
         H. The applicable Limit of Liability for each Reputation Protection Expense shown in Item 3.F. of the Policy
            Declarations is the Insurer’s maximum liability for all Reputation Event Expenses arising from a single
            Reputation Event. The applicable Maximum Aggregate Limit of Liability shown in the Declarations is the
            Insurer’s maximum liability for all Reputation Event Expenses arising from Reputations Events during the
            Policy Period.
         I.   The applicable Limit of Liability for each Withheld Client Fee Assistance shown in Item 3.G. of the Policy
              Declarations is Insurer’s maximum liability for all Withheld Client Fees arising from a single Claim. The
              applicable Maximum Aggregate Limit of Liability shown in the Declarations is the Insurer’s maximum liability
              for all Withheld Client Assistance arising from all Claims during the Policy Period.
    H. Section IX. Deductible, paragraph A. is deleted and replaced by:
         The Insurer’s liability under this Policy applies only to that part of covered Loss, Subpoena Response
         Expenses, Disciplinary Proceedings Expenses, Crisis Event Expenses, Breach Event Expenses, Cyber
         Investigation Expenses or Reputation Protection Expenses which is in excess of the applicable Deductible
         for each Claim, Subpoena, Disciplinary Proceeding, Crisis Event, Privacy Event or Security Breach,
         Regulatory Investigation or Reputation Event stated in Item 3. of the Policy Declarations. Such Deductible
         shall be borne by the Insureds uninsured and at their own risk.
    I.   Section IX. Deductible is amended to include:
         D. Deductible Reduction Benefit
              1. Claim-Free
                  The Insured will be entitled to reduction in the each Claim Deductible provided that the following
                  qualifications are met:
                  a. The Insurer has issued a Policy to the Named Insured for a minimum of three (3) consecutive annual
                     Policy Periods;
                  b. The Policy must be account current with no overdue payments outstanding; and
                  c.   The Named Insured has not reported any Claims in the last three Policy Periods. For purposes of
                       determining eligibility for the Claim-Free benefit full years continuously insured with the USI Affinity
                       Insurance Program shall be considered years with the Insurer.
                  d. Then the each Claim Deductible obligation will be reduced by fifty percent (50%) provided that:
                       1) The maximum amount of any such reduction is $10,000.
                       2) A Deductible reduction will not be applied:
                           a. To any subsequent Claims in the Policy Period.
                           b. If the Policy is cancelled, terminated, non-renewed or subject to an Extended Reporting
                              Period.




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             2. Mediation
                 If the Insurer asks, and the Named Insured agrees, to use Mediation to resolve any Claim brought
                 against the Insured, and if the Claim is resolved by Mediation within 180 days of the date such Claim
                 was reported to the Insurer in accordance with Section X. Reporting, the Deductible obligation for that
                 Claim will be reduced by fifty percent (50%). The maximum amount of any such reduction is $10,000.
             3. Risk Management
                 Upon written notice of a Claim or Potential Claim, if the Named Insured provides the Insurer with the
                 relevant fully executed engagement letter, which includes fee arrangements and outlines the scope of
                 representation, dated prior to such Claim or Potential Claim and contains at least two of the following
                 provisions:
                 a. An enforceable waiver of damages provision in the Insured’s favor;
                 b. An enforceable limitation of liability limiting the Insured’s liability to the lesser of the Insured’s fee or
                    $250,000; provided that this benefit shall not apply if the Policy’s Per Claim Limit of Liability is
                    $500,000 or less; and
                 c.   A requirement for mandatory Mediation as the first method of dispute resolution.
                      The Deductible obligation for that Claim will be reduced by fifty percent (50%), subject to a maximum
                      of $25,000 (Per Claim).
             4. The reductions provided under D. 1, 2 and 3 of this section cannot be combined. Only one reduction in
                Deductible obligation may be applied to a single Claim.
    J.   Section X. Reporting, paragraph A. is deleted and replaced by:
         A. An Insured shall provide the Insurer with written notice of a Claim as soon as practicable after the Insured
            becomes aware of a Claim during the Policy Period but in no event later than:
             1. Sixty (60) days after the effective date of expiration or termination of the Policy; or
             2. The expiration date of the Extended Reporting Period, if applicable,
             However if the Insurer sends written notice to the Named Insured stating that this Policy is being terminated
             for nonpayment of premium, an Insured shall give the Insurer written notice of such Claim prior to the
             effective date of such termination.
             An Insured shall provide the Insurer with written notice of a Reputation Event, Subpoena, Disciplinary
             Proceeding, Crisis Event, Privacy Breach or Security Breach, or Regulatory Investigation as soon as
             practicable after the Insured becomes aware of the Reputation Event, Subpoena, Disciplinary
             Proceeding, Crisis Event, Privacy Breach or Security Breach, or Regulatory Investigation, during the
             Policy Period, but in no event later than the effective date of expiration or termination of the Policy.
    K. Section X. Reporting is amended to include:
         The Insured must give the Insurer the assistance, information and cooperation as the Insurer may require and
         shall include:
         1. In any notice of a Security Breach or Privacy Breach, the nature of the alleged Privacy Breach or
            Security Breach, the amount or scope of alleged or potential damage, the names of actual or potential
            claimants, and the manner in which the Insured first became aware of the Privacy Breach or Security



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             Breach.
         2. In any notice of a Regulatory Investigation, the regulatory complaint, the nature of the alleged Privacy
            Breach or Security Breach, the names of actual or potential claimants, and the manner in which the
            Insured first became aware of the Privacy Breach or Security Breach;
         3. In any notice of a Crisis Event, the nature of the alleged Wrongful Act or other event, the nature of the
            anticipated material, adverse impact on the Named Insured’s reputation, and the manner in which the
            Insured first became aware of the circumstances or alleged Wrongful Act; and
         4. In any notice of a Reputation Event, the nature of the alleged Wrongful Act, the nature of the anticipated
            material, adverse impact on the Named Insured’s reputation, and the manner in which the Insured first
            became aware of the circumstances or alleged Wrongful Act.
         5. Notice of a Reputation Event, Subpoena, Disciplinary Proceeding, Crisis Event, Privacy Breach or
            Security Breach, or Regulatory Investigation, must be provided in writing to the addresses stated in Item
            7. of the Policy Declarations.




All other terms and conditions remain unchanged. The title and any headings in this endorsement are solely for
convenience and form no part of the terms and conditions of coverage.




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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                        Fort Pierce Division
                         CASE NO.: 9:18-CV-80311-ROSENBERG/REINHART

    DIAMOND RESORTS U.S. COLLECTION
    DEVELOPMENT, LLC, a Delaware limited
    liability company; and DIAMOND RESORTS
    HAWAII COLLECTION DEVELOPMENT,
    LLC, a Delaware limited company,

           Plaintiffs,

    v.

    US CONSUMER ATTORNEYS, P.A., a
    Florida professional corporation; HENRY
    PORTNER, ESQ. an individual; ROBERT
    SUSSMAN,         an      individual;  PLUTO
    MARKETING INC., a Nevada corporation;
    1PLANETMEDIA INC, a Nevada corporation;
    NEWTON GROUP TRANSFERS, LLC, a
    Michigan limited liability company; THE
    NEWTON GROUP, ESA LLC, a Michigan
    limited liability company; INTERVAL
    BROKER DIRECT, LLC, a Michigan limited
    liability company; NEWTON GROUP EXIT,
    LLC, a Florida limited liability company; and
    DC CAPITAL LAW FIRM, LLP, a Washington
    D.C. limited liability partnership,

           Defendants.


                                THIRD AMENDED COMPLAINT

           Plaintiffs, Diamond Resorts U.S. Collection Development, LLC (“US Collection

    Development”) and Diamond Resorts Hawaii Collection Development, LLC (“Hawaii Collection

    Development”) (collectively, “Plaintiffs”), sue Defendants, US Consumer Attorneys, P.A.

    (“USCA”); Henry Portner, Esq. (“Portner”); Robert Sussman (“Sussman”); Pluto Marketing Inc.

    (“Pluto”); 1Planetmedia Inc. (“1 Planet”) (USCA, Portner, Sussman, Pluto, and 1 Planet may

    sometimes hereinafter be collectively referred to as the “USCA Defendants”); Newton Group
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    Transfers, LLC (“Newton Group”); The Newton Group, ESA LLC (“Newton ESA”); Interval

    Broker Direct, LLC (“IBD”); Newton Group Exit, LLC (“Newton Exit”) (Newton Group, Newton

    ESA, IBD, and Newton Exit may sometimes hereinafter be collectively referred to as the “Newton

    Defendants”); and DC Capital Law Firm, LLP (“DC Capital”) (the USCA Defendants, the

    Newton Defendants, and DC Capital may sometimes be collectively referred to as the

    “Defendants”), and allege as follows:

                    Parties, Subject Matter and Personal Jurisdiction, and Venue

           1.      Plaintiff, US Collection Development, is a limited liability company organized and

    existing under the laws of the state of Delaware with its principal place of business located at

    10600 West Charleston Blvd., Las Vegas, Nevada. US Collection Development is a person or

    entity engaged in commerce within the control of Congress. The sole member of US Collection

    Development is Diamond Resorts Developer and Sales Holding Company, a Delaware corporation

    with its principal place of business at 10600 West Charleston Blvd., Las Vegas, Nevada. US

    Collection Development is a resident of either Delaware or Nevada.

           2.      Plaintiff, Hawaii Collection Development, is a limited liability company organized

    and existing under the laws of the state of Delaware with its principal place of business located at

    10600 West Charleston Blvd., Las Vegas, Nevada. Hawaii Collection Development is a person

    or entity engaged in commerce within the control of Congress. The sole member of Hawaii

    Collection Development is Diamond Resorts Developer and Sales Holding Company, a Delaware

    corporation with its principal place of business at 10600 West Charleston Blvd., Las Vegas,

    Nevada. Hawaii Collection Development is a resident of either Delaware or Nevada.

           3.      Defendant, USCA, is a professional corporation organized and existing under the

    laws of the state of Florida with an alleged principal place of business Lake Worth, Palm Beach




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    County, Florida. However, upon information and belief, USCA’s main office is located at 1300

    North Johnson Avenue, Suite 107, El Cajon, California 92020, which is the same office as co-

    Defendants, Pluto and 1 Planet. USCA is an entity engaged in commerce within the control of

    Congress.

           4.      Defendant, Portner, is an individual and an attorney licensed to practice law in

    multiple jurisdictions, including Florida and California. Portner purports to be the principal and

    sole law partner of USCA. Portner resides in Lake Worth, Palm Beach County, Florida, but he

    also spends significant time in California. Portner is a person engaged in commerce within the

    control of Congress.

           5.      Defendant, Sussman, who passed away on April 16, 2019, resided in Nevada or

    California at the time he passed away. Prior to his death, Sussman held himself out as the manager

    of USCA and he directed the operations of USCA, Pluto and 1 Planet. Sussman was a person

    engaged in commerce within the control of Congress.

           6.      Defendant, Pluto, is a corporation organized and existing under the laws of the state

    of Nevada with an alleged principal place of business in Las Vegas, Nevada. However, upon

    information and belief, Pluto’s main office is located at 1300 North Johnson Avenue, Suite 107,

    El Cajon, California 92020 in the same office as co-Defendants, USCA and 1 Planet. Pluto is an

    entity engaged in commerce within the control of Congress.

           7.      Defendant, 1 Planet, is a corporation organized and existing under the laws of the

    state of Nevada with an alleged principal place of business in Las Vegas, Nevada. However, upon

    information and belief, 1 Planet’s main office is located at 1300 North Johnson Avenue, Suite 107,

    El Cajon, California 92020 in the same office as co-Defendants, Pluto and USCA. 1 Planet is an

    entity engaged in commerce within the control of Congress.




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           8.      Defendant, Newton Group, is a limited liability company organized and existing

    under the laws of the state of Michigan with an alleged principal address located at 250 Monroe

    Avenue NW, Suite 400 PMB #6026, Grand Rapids, Michigan 49503. However, upon information

    and belief, Newton Group operates out of facilities located at 1750 E Northrop Boulevard, Suite

    170, Chandler, Arizona 85286. Newton Group is an entity engaged in commerce within the control

    of Congress.

           9.      Defendant, Newton ESA, is a limited liability company organized and existing

    under the laws of the state of Michigan with an alleged principal place of business located at 3148

    Plainfield Avenue NE, Suite 283, Grand Rapids, Michigan 49525. Newton ESA is an entity

    engaged in commerce within the control of Congress.

           10.     Defendant, IBD, is a limited liability company organized and existing under the

    laws of the state of Michigan with a principal place of business located at 250 Monroe Avenue

    NW, Suite 400 PMB #6026, Grand Rapids, Michigan 49503. IBD is an entity engaged in

    commerce within the control of Congress.

           11.     Defendant, Newton Exit, is a limited liability company organized and existing

    under the laws of the state of Florida, which according to the Florida Secretary of State, has a

    principal address located at 218C East New York Avenue, Deland, Florida 32724, but this address

    appears to be fake as it is occupied by CHA, an accounting firm. Upon information and belief,

    Newton Exit can be found via its manager, UNL Holdings, LLC, which is affiliated with the other

    Newton Defendants and can be found at the same location as Newton ESA: 3148 Plainfield

    Avenue NE, Suite 283, Grand Rapids, Michigan 49525. Newton Exit is an entity engaged in

    commerce within the control of Congress.




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             12.     Defendant, DC Capital, is a limited liability partnership organized and existing

    under the laws of the District of Columbia, with a principal address located at 700 12th Street NW,

    Suite 700, Washington, D.C. 20005. DC Capital is an entity engaged in commerce within the

    control of Congress.

             13.     Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. § 1391 as

    many of the Defendants are located in this District or the actions and inactions that serve as the

    basis for the claims stated herein occurred in, or were directed in or from, the Southern District of

    Florida and/or Defendants repeatedly used the mails and wires to solicit consumers in the state of

    Florida and direct false demand letters and other correspondence to Diamond (as defined below)

    and the consuming public in Florida.

             14.     This Court has subject matter jurisdiction over this dispute by virtue of 28 U.S.C.

    §§ 1331 and 1338(a) with respect to the causes of action arising under the Lanham Act. The Court

    has supplemental jurisdiction over the state law claims alleged herein pursuant to 28 U.S.C.

    § 1367, as the state law claims are so related to claims in this civil action within the Court’s original

    jurisdiction that they form part of the same case or controversy and same common core of operative

    facts.

                                             Diamond Resorts™

             15.     Diamond Resorts International, Inc. d/b/a Diamond Resorts™ 1 (“DRI,”

    “Diamond” or “Diamond Resorts”), with more than 420 branded and affiliated resorts in the

    United States, Canada, Mexico, the Caribbean, Europe, Asia, Australia, and Africa, is a global

    leader in the hospitality and vacation ownership industry.




    1
        Plaintiffs also conduct business under the trade name “Diamond Resorts.”



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           16.     Diamond Resorts strives to provide innovative and flexible vacation experiences

    for its owners, members, and guests to ensure that they create their dream vacation experiences.

           17.     DRI, through its various indirect subsidiaries, owns, operates and manages

    timeshare resorts and, through resort and partner affiliations, provides members with access to

    timeshare resorts, cruises, excursions, and vacations experiences that are unrivaled in the

    hospitality industry.

           18.     As part of their different vacation ownership options, Diamond Resorts offers its

    owners and members the ability to reserve and use vacation interests at different resorts by using

    “points” to stay at various resorts within different multi-site timeshare plans, more commonly

    known as “Collections.” For example, the “US Collection” is a member-friendly, flexible, points-

    based program that allows members of the US Collection to stay at a variety of destinations

    primarily throughout the United States, including in Florida. The “Hawaii Collection” offers

    similar flexibility to its members for resorts primarily located in Hawaii, Nevada and Arizona.

           19.     To become members of the US Collection and to have the benefits of being a

    member, including the ability to reserve and enjoy accommodations with the US Collection,

    consumers (the “Diamond Owners”) enter into valid and legally binding contracts wherein they

    purchase and finance memberships from US Collection Development (the “Timeshare

    Contracts”). The Timeshare Contracts, unless the Diamond Owner pays the purchase price in full

    at the time of purchase, typically contain financing provisions wherein the Diamond Owner makes

    an upfront payment to acquire the desired amount of points and then finances the remaining

    amounts due for the points through US Collection Development. US Collection Development

    earns a profit from the sale and, as with other lenders, earns revenue from the financed portion of

    the purchase. The Timeshare Contracts also identify that Diamond Owners are obligated to pay




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    annual assessments, which are also known as maintenance fees. Commonly, Diamond Owners

    who own points in the US Collection subsequently purchase additional points in the US Collection,

    which leads to additional sales and financing revenues for US Collection Development. The same

    is true for the Hawaii Collection Development.

            20.     Plaintiffs, as the parties pursuing this action, are concerned not only for their own

    revenues realized from sales and financing, and for their reputations, but for the well-being of

    Diamond Owners who have been defrauded by Defendants’ wrongful conduct as alleged herein.

            21.     Plaintiffs have instituted this action and are pursuing claims against Defendants to

    redress the Defendants’ illegal actions through monetary damages and declaratory and injunctive

    relief. Plaintiffs also seek to deter future wrongful conduct against Diamond and Diamond Owners

    by seeking disgorgement of the profits improperly earned by Defendants to date.

            22.     All conditions precedent to the bringing and maintenance of this action have been

    performed, were waived, would be futile if attempted, or have otherwise been satisfied or occurred.

            23.     Plaintiffs have retained the services of the undersigned lawyers to represent them

    in this matter and have obligated themselves to pay reasonable attorneys’ fees, which fees are

    recoverable against Defendants pursuant to 35 U.S.C. § 1117 and other statutes, as set forth in

    greater detail herein.

                        Defendants and the Timeshare Exit Industry Generally

            24.     Diamond has over 480,000 members, and the overwhelming majority of those

    members are extremely satisfied with their vacations and relationships with Diamond Resorts,

    including Plaintiffs.

            25.     However, within the last ten years, a nefarious cottage industry known as

    “timeshare exit” has sprouted. This industry preys upon unsuspecting timeshare owners through,

    in part, the use of false and misleading advertising designed to encourage timeshare owners to


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    relinquish ownership of their timeshare interests. Diamond Owners are not immune from the

    improper efforts of these timeshare exit companies and their deceptive practices and strategies,

    including those of Defendants in this action. In some cases, the advertising itself advises the

    Diamond Owners to breach or default on their obligations under the Timeshare Contracts. And,

    in other cases, once the false and misleading advertising lures the unsuspecting Diamond Owners

    to connect with the exit company (or its advertising companion), such as Defendants, the Diamond

    Owners are encouraged – if not specifically told – to breach their obligations under the Timeshare

    Contract. As a result, this scheme causes substantial harm to Plaintiffs’ sales, reputations, and

    future business prospects.

           26.     Timeshare exit businesses, which include Defendants, typically demand exorbitant

    up-front payment from consumers, and then do little or nothing on behalf of the consumer, often

    leaving the consumer with damaged or ruined credit arising from nonpayment of their legal

    obligations. Certainly, Defendants do not have a legal or proprietary method to obtain a positive

    result for the Diamond Owners because, as strangers to the relationship between Diamond and the

    Diamond Owners, they have no lawful ability to obtain a cancellation or termination of the

    purchase and finance obligations owed under the Timeshare Contracts.

           27.     To make matters worse, some Diamond Owners who have issues with their

    timeshare product can resolve the issue by contacting Diamond or by utilizing the Diamond

    Transitions® program. Transitions® is not available to all Diamond Owners, nor is it a guaranteed

    method to allow Diamond Owners to terminate their obligations under the Timeshare Contracts,

    but, other than resale, foreclosure or another separate agreement with Diamond, it is the only legal

    method for a Diamond Owner to terminate his or her relationship with Diamond.




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           28.     Defendants, acting both separately and in concert (as further detailed hereinbelow),

    have engaged in various scams to take advantage of Diamond Owners and cause damage to

    Plaintiffs’ sales and reputations. Each Defendant plays a specific role necessary to effectuate and

    complete the scams. Together, Defendants purposefully act, using shell companies and websites,

    as well as lawyers and sham law firms (sometimes controlled by nonlawyers) improperly related

    to non-lawyer “marketing” firms, to divert, or to otherwise hide and abscond with, funds from

    Diamond Owners (diverting those funds from payment of lawful obligations to Diamond), and

    interfere with the current and prospective contractual relationships between Diamond Owners and

    Diamond. A diagram identifying Defendants’ affiliations and interactions is attached hereto as

    Exhibit “A.”

           29.     Defendants are not parties to the Timeshare Contracts. Yet, they falsely advertise

    a “cancellation,” “exit,” or “transfer” service wherein they can “legally” release or “exit” Diamond

    Owners from the obligations of their Timeshare Contracts. Such advertisements are false because

    Defendants have no such method or ability. The following is an example advertisement by the

    USCA Defendants from one of their websites:




    As set forth in greater detail in this Third Amended Complaint, the USCA Defendants do not

    possess a “legal process” of “permanently” terminating a Diamond Owner’s Timeshare Contract,

    and this advertisement is therefore false and misleading.

           30.     The following is a representative advertisement utilized by the Newton Defendants

    in a mass mailer sent to timeshare owners, including the Diamond Owners:




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    A copy of this letter (the “Newton Defendant Letter”) is attached hereto as Exhibit “B.”

    However, there is no such law; this advertisement (and its implication that maintenance fees will

    increase dramatically and without restriction) is completely false and misleading.

           31.     The USCA Defendants collectively engage in the advertising attributed to them in

    this Third Amended Complaint. The Newton Defendants collectively engage in the advertising

    attributed to them in this Third Amended Complaint. Even if DC Capital does not engage in any

    readily apparent advertising, it knowingly accepts the benefits of the false or misleading

    advertising engaged in by the Newton Defendants and, potentially, other third-parties.

           32.     This Third Amended Complaint requests declaratory and injunctive relief for false

    advertising and contributory false advertising in violation of the Lanham Act, 15 U.S.C.

    § 1125(a)(1) and under the causes of action for a defendant making false and/or misleading

    representations about its own goods or services, intentional interference with contractual relations,

    civil conspiracy, and violations of the Florida Deceptive and Unfair Trade Practices Act

    (“FDUPTA”).

                                         The USCA Defendants

           33.     USCA purports to be a law firm that “represents” clients that are referred to it by

    marketing companies, such as Pluto and 1 Planet. However, prior to Sussman’s death, USCA was

    managed and/or controlled by Sussman, a non-lawyer. USCA shares office space with Pluto and

    1 Planet, which are non-law-firm entities that advertise on behalf of USCA and that refer clients

    to USCA. Pluto, 1 Planet and USCA engage in an improper fee sharing arrangement, whereby


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    USCA pays referral fees to the non-lawyer marketing entities and the funds of “clients” are

    improperly commingled.

           34.     Pluto, under the direction and control of Sussman, registered and/or used numerous

    domain names, which it has utilized in its various false and misleading advertisements and scheme

    to tortiously interfere with the relationship between Plaintiffs and the Diamond Owners, including:

           a. timesharefighter.com

           b. tsrsonline.com

           c. bestresortrentalandsale.com

           d. dumpyourtimesharenow.com

           e. timesharefighter.com

           f. timeshareresalesource.com

           g. uscalaw.com

    As an example, Pluto uses these various websites to redirect web traffic to the

    “www.usconsumerattorneys.com” (the “USCA Website”), which, as alleged below, contains a

    bevy of false and misleading advertising.

           35.     1 Planet is a marketing company that engages in nationwide false and misleading

    advertising activities including, inter alia, marketing to consumers in the state of Florida.

    Additionally, 1 Planet utilizes its merchant accounts to process payments on behalf of USCA for

    consumers who decide to use USCA’s “services.” In certain instances, 1 Planet has also paid a

    portion of certain payments made to USCA to marketing or other companies that referred

    consumers to USCA. Based upon information and belief, USCA is co-mingling client funds with

    1 Planet and is improperly splitting those fees with additional other, non-lawyer entities.




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           36.      Sussman and Portner are both individually and personally responsible for the

    actions of the USCA Defendants.

           37.      With respect to Portner, his individual control over the other USCA Defendants

    includes the following:

           a. Portner is the ostensible owner and managing partner of USCA; because the USCA

                 Defendants’ scheme requires a law firm to operate, and a law firm must legally be

                 owned and managed by an attorney admitted to the highest court of at least one state,

                 Portner is instrumental in the USCA Defendants’ scheme;

           b. Portner personally made and/or consented to the decision to operate USCA out of the

                 same office as, and to intermingle USCA with, 1 Planet;

           c. Portner is personally involved in, and approves, the marketing and advertising

                 decisions and actions undertaken by at least some of the USCA Defendants, including,

                 without limitation, USCA; and

           d. Portner is personally involved in, and directs, the day-to-day operations of USCA.

           38.      With respect to Sussman, prior to his death, his individual control over the other

    USCA Defendants included the following:

           a. Sussman held himself out as the “manager” of USCA, even utilizing the email address

                 “uscamanager@aol.com” when recruiting employees to the USCA Defendants;

           b. many of the various websites operated, owned or controlled by the USCA Defendants

                 identify that Sussman was the person directing the marketing activities of the various

                 USCA Defendants (including, without limitation, 1 Planet);

           c. Sussman held himself out as an expert in the advertising engaged in by the USCA

                 Defendants;




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            d. Sussman was (along with Portner) personally making the decisions and directing the

                  activities of the USCA Defendants with respect to their false, deceptive, and misleading

                  advertising and marketing;

            e. Sussman was personally directing how to accept consumers into the USCA

                  Defendants’ scams and how much those consumers needed to be charged; and

            f. Sussman personally directed the use of USCA merchant accounts to process consumer

                  payments for consumers that were recruited through non-party third-party entities

            39.      Whether directly or indirectly through Pluto or 1 Planet, USCA uses false and

    misleading advertising to lure Diamond Owners into an intricate scheme that solely financially

    benefits the USCA Defendants. This scheme proximately causes harm to the sales and reputations

    of Plaintiffs and causes adverse financial consequences to the Diamond Owners in the form of (i)

    payments to the USCA Defendants, for which promised services are not rendered, (ii) damaged

    credit reporting, and (iii) foreclosures on their financial history.

            40.      Specifically, the USCA Defendants2 utilize different false and misleading

    advertisements and techniques to lure unsuspecting Diamond Owners into the scheme, including:

            a. The USCA Defendants, in violation of the Florida (amongst other) Bar Rules, offer

                  guaranteed results to their prospective clients, which include the Diamond Owners. On

                  the USCA Website, USCA advertises a variety of guarantees, including a guarantee


    2
       Without the benefit of discovery, it is difficult to specifically identify which specific
    advertisements are attributable to the individual USCA Defendants. However, Plaintiffs are aware
    that the USCA Defendants own, operate or manage numerous websites, as alleged more
    specifically herein, and that the USCA Defendants use search engine optimization (“SEO”)
    strategies that are designed to enhance their brand on the internet and direct Diamond Owners to
    their websites and other online marketing platforms. Plaintiffs believe that discovery will fully
    develop which individual USCA Defendants own, manage and operate the various websites, which
    are response for the SEO strategies, and which ultimately receive the financial benefit of the
    scheme.



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              that all “paid in full timeshare cancellations are guaranteed to be transferred or in

              process within 12 months,” a 100% satisfaction guarantee, and “100% No More Fees.”

              Moreover, using SEO strategies, the USCA Defendants enhance their brand and offer

              “Timeshare Lawyer Cancellation 100% Guaranteed.”            See Exhibit “C” attached

              hereto. The USCA Website also contains a video wherein USCA claims a 100%

              success rate.3

           b. Additionally, the USCA Defendants claim that they have a legal method to cancel

              timeshare obligations owed by a timeshare owner. Indeed, on the USCA Defendant

              Video Advertisement, the USCA Defendants claim that they “can use the legal system

              to get your timeshare obligation CANCELLED directly with your timeshare

              company.”

           c. In the USCA Defendant Video Advertisement, the USCA Defendants wrongfully claim

              that “a big majority of timeshare owners today are now walking away from their

              contracts,” which misleads timeshare owners, including the Diamond Owners, to

              believe that they need to get out of their timeshare interests because so many others are

              also getting out of their timeshare interests.




    3
      A nearly identical video can be viewed on the website “www.dumpyourtimesharenow.com”
    (“Dump Your Timeshare”), which is affiliated with the USCA Defendants. Specifically, the video
    can be found at “http://dumpyourtimesharenow.com/timeshare-cancellation-presentation.php”.
    While Dump Your Timeshare attempts to redact all information regarding the businesses and/or
    lawyers affiliated with Dump Your Timeshare, it is apparent that Portner and Sussman’s brother,
    Mitchell Sussman, who is also a timeshare exit lawyer, are affiliated with Dump Your Timeshare.
    Plaintiffs believe that the other USCA Defendants also operate, manage or benefit from the Dump
    Your Timeshare website. The video found on the USCA Website and on Dump Your Timeshare
    is nearly identical and they will collectively be referred to as the “USCA Defendant Video
    Advertisement.”



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          d. In the USCA Defendant Video Advertisement, the USCA Defendants also mislead

             timeshare owners, including the Diamond Owners, by asserting that new timeshare

             laws make it more difficult to get out of a timeshare interest.

          e. The USCA Defendants also claim that they are selective in the clients that they accept

             as part of the USCA Defendant Video Advertisement. The USCA Defendants claim

             that if they are not confident about the matter, then they will not accept the money or

             the representation of the timeshare owner, which includes Diamond Owners.

          f. In the USCA Defendant Video Advertisement, the USCA Defendants prey on

             timeshare owners, including the Diamond Owners, by proclaiming that “heirs inherit

             the timeshares and will be responsible for all fees and expenses” and assert, without

             reservation, that children of timeshare owners are forced to take their parents’ timeshare

             interests and all accompanying expenses.

          g. The USCA Defendants also use the USCA Defendant Video Advertisement to mislead

             timeshare owners, including the Diamond Owners, into believing that the USCA

             Defendants have a program that will allow the Diamond Owners to legally eliminate

             all timeshare fees forever. The advertisement misleads timeshare owners to believe

             that the day they retain the USCA Defendants, the timeshare owners will no longer be

             obligated to pay maintenance fees, assessments of other financial obligations relating

             to their timeshare interests. An image of that portion of the USCA Defendant Video

             Advertisement (from both websites) is seen below:




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    These advertisements shall be collectively referred to as the “USCA Defendants’ Website

    Advertisements,” and they are specific, but not exhaustive, examples of the false and misleading

    advertising used by the USCA Defendants.

           41.      However, the USCA Defendants’ Website Advertisements are false and misleading

    as it relates to the Diamond Owners, for the following reasons:

           a. The USCA Defendants cannot validly guarantee success and do not have a 100%

                 success rate because there are many times when the “result” they obtain for a Diamond

                 Owner could never be considered a success. Such situations include when the Diamond

                 Owner suffers severe adverse financial credit reporting against them or when a

                 foreclosure is permanently on the Diamond Owner’s financial record because the

                 Diamond Owner – at the behest or encouragement of the USCA Defendants – defaults

                 on his or her obligation owed under the Timeshare Contracts. Indeed, there are many

                 instances where a USCA Defendant is not successful in obtaining a successful result

                 for a Diamond Owner. For example, USCA represented a Diamond Owner in binding

                 arbitration, but lost that arbitration badly. Yet, upon information and belief, the USCA




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             Defendants have never returned money paid by a Diamond Owner based on a lack of

             success, so their alleged “money back guaranties” are hollow and meaningless.

          b. There is no legal method for a stranger to the relationship, such as a USCA Defendant,

             to “cancel” the timeshare interest of a Diamond Owner. While Diamond does offer

             Transitions® as a program to assist some Diamond Owners in legally terminating their

             obligations under the Timeshare Contract, there is no such legal mechanism for a third

             party exit company or law firm to achieve the same result.

          c. The USCA Defendants’ advertisements that a “big majority” of timeshare owners are

             walking away from their timeshare interests is false. Specific to Diamond, there are

             approximately 480,000 Diamond Owners, and the large majority of them are happy

             members who are not seeking to exit their timeshare.

          d. There are no new timeshare laws that make it difficult for a Diamond Owner to lawfully

             exit their timeshare interest. Any assertion to the contrary is false and misleading.

          e. The USCA Defendants are not selective in accepting clients or their money. Rather,

             upon information and belief, the USCA Defendants do not routinely turn down money

             from timeshare owners, including Diamond Owners, nor do they have a process

             whereby they evaluate whether potential clients should be accepted or rejected.

          f. The USCA Defendants’ advertisements that heirs of timeshare owners, including

             Diamond Owners, must inherit the timeshare interests and corresponding expenses are

             fundamentally misleading. Rather, such grants or transfers are governed by applicable

             inheritance laws, which generally allow heirs to accept or reject inheritances.

          g. The USCA Defendants have no program and no proven method to get timeshare

             owners, including Diamond Owners, out of their timeshares.            Additionally, any




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                 insinuation that the USCA Defendants can legally get rid of fees and costs associated

                 with timeshare interests is false and misleading because there is no such legal method

                 available to the USCA Defendants.

           42.      In addition to the USCA Defendants’ Website Advertisements, the USCA

    Defendants have, at varying times, also included direct references to Diamond on their various

    associated websites, including, without limitation, alleged evidence of the ‘success’ of their

    ‘process’ in ‘exiting’ consumers from their Diamond timeshare contracts. USCA has not had such

    “success” as it relates to Diamond or Diamond Owners.

           43.      In reality, the USCA Defendants make a variety of false and misleading claims in

    their advertisements that are designed to deceive Diamond Owners, amongst others, into wanting

    to terminate their Timeshare Contracts and into believing that the USCA Defendants are able to

    legally (and without adverse consequences) eliminate the Diamond Owners’ contractual

    obligations to Diamond.

           44.      The USCA Defendants use a variety of social media platforms and other advertising

    mediums to promulgate the USCA Defendants’ False and Misleading Advertisements.

           45.      The USCA Defendants increase the web traffic to their websites through extensive

    and targeted SEO strategies. As an example, the USCA Defendants have purchased dozens of

    Google AdWords® incorporating Diamond’s registered and unregistered intellectual property (the

    “Diamond Marks”). Those Google AdWords®, including the following:

           a. “cancel diamond resorts membership”;

           b. “diamond resorts scams”;

           c. “diamond resorts scam”;

           d. “cancel diamond resorts timeshare”;

           e. “cancel diamond resorts”;


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           f. “cancel diamond timeshare”;

           g. “diamond resorts class action lawsuit”;

           h. “how to get out of diamond resorts”;

           i. “diamond resorts international problems”;

           j. “diamond resorts international complaints”; and

           k. “how to cancel diamond resorts membership”.

    In addition, the USCA Defendants purchased numerous Google AdWords® that incorporate and

    utilize the Diamond Marks, which Google AdWords® relate to various Diamond branded

    properties without anything more, such as, but not limited to:

           a. “diamond resorts arizona”;

           b. “diamond resorts branson missouri”;

           c. “diamond resorts international lake tahoe”;

           d. “daily mirror diamond resorts”; and

           e. “diamond timeshare”.

           46.     The USCA Defendants purchased the Google AdWords® to increase traffic to their

    various websites, which contain the USCA Defendants’ False and Misleading Advertisements.

    The USCA Defendants purchase an extraordinary amount of Google AdWords®. By way of

    comparison, there are a global total of 3,963 total Google AdWord® keywords purchased by the

    USCA Defendants and Diamond. Of these 3,963 keywords, 24 are purchased by both Diamond

    and the USCA Defendants, Diamond purchased 437 unique keywords, and USCA purchased 3,502

    unique keywords. For the Google AdWords® where Diamond and the USCA Defendants both

    purchased the keywords, the derogatory ads may appear side-by-side with Diamond’s

    advertisements, which is intentional and meant by the USCA Defendants to divert traffic from

    Diamond’s website thereby causing damages to Diamond’s business reputation and sales.



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    Increasing traffic to the USCA Defendants’ False and Misleading Advertisements is a critical part

    of the USCA Defendants’ improper scheme.

           47.     The USCA Defendants also use other, passive websites that are designed solely to

    squelch bad reviews regarding the USCA Defendants or otherwise make it difficult for consumers

    to find negative reviews or “tell alls” of the USCA Defendants and their schemes. The USCA

    Defendants also utilize metadata, coding, and backlinking to promote themselves. Recently, there

    were approximately 269 backlinks that are designed to increase the profile of the USCA

    Defendants.

           48.     In addition to the use of the various aforementioned websites, online videos, and

    SEO strategies, the USCA Defendants market and solicit timeshare owners through call centers,

    and direct marketing (such as bulk mailers) that enhance their brand, and direct Diamond Owners

    to their false and misleading advertising.

           49.     For example, 1 Planet engages in the business of telemarketing solicitations

    directed to timeshare owners, such as the Diamond Owners, with the intent to falsely advertise the

    services of the USCA Defendants and to encourage Diamond Owners to want to cancel their

    timeshare interests with Plaintiff. An example resume of a former employee of 1 Planet (the “1

    Planet Resume”) is attached hereto as Exhibit “D.” In the 1 Planet Resume, the creator confirms

    that 1 Planet operates a call center, that the creator was an employee of the call center, that the

    creator offered “solutions for the cancellation of resort contracts,” and the creator met “company

    quota and requirements … and earned reputation for exceeding sales goals.” See Ex. D, Pgs. 1-2.

    The 1 Planet Resume confirms that 1 Planet’s motive was to develop “highly empathetic

    relationships” with consumers in order to achieve lofty sales goals. See id. These sales goals were




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    satisfied when the false and misleading advertising of 1 Planet and the other USCA Defendants

    led timeshare owners, such as the Diamond Owners, to pay fees to the USCA Defendants.

           50.      Moreover, 1 Planet, Pluto, and/or USCA engage in direct telephone marketing to

    timeshare owners, including Diamond Owners, which is also known as “cold calling.” An example

    call script used by the USCA Defendants (the “USCA Call Script”) is attached hereto as Exhibit

    “E.” The USCA Call Script is false and misleading for the following reasons:

           a. The USCA Call Script identifies that the host had been working with a ‘intake manager’

                 “for many years now” and that this individual was one of the “most respected and

                 experienced Intake Managers,” which is false and/or misleading because the script

                 contains blank spaces for the name of the alleged intake manager and therefore the

                 foregoing was said about any person who happened to be an intake manager;

           b. In the USCA Call Script there are advertisements regarding USCA’s “Guaranteed

                 Solution” which, as set forth in this Third Amended Complaint, is false and/or

                 misleading because there is no such “guaranteed solution” other than foreclosure;

           c. USCA also advises that “USCA agrees to provide each Client this Service Guarantee

                 which states; Client will receive a bona fide offer to terminate their timeshare in

                 approximately 12 months or less (from the time the ownership documents are submitted

                 to USCA) or Client can receive 100% of their fee back.” This advertisement is false

                 and misleading because the USCA Defendants do not have a method to ensure that the

                 result is obtained, and, based upon information and belief, the USCA Defendants do

                 not return fees to Diamond Owners or other timeshare owners;

           d. Pursuant to the USCA Call Script, “[t]he reason why we are so successful getting our

                 clients out of their contract is very simple, [w]e only work on a qualified basis, meaning




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                 we do not work with all timeshares. We only work with timeshare owners when we

                 know we can cancel them out of their contracts,” which is false and/or misleading

                 because the USCA Defendants will take any U.S. based timeshare owner and does not

                 qualify their clients; and

           e. As with the USCA Defendant Website Advertisements, the USCA Call Script claims

                 that the “program will eliminate all timeshare fees forever,” which is false and

                 misleading because the USCA Defendants have no legal basis to obtain such a result,

                 and if such a result could be obtained, it is only after the timeshare owners’ (such as a

                 Diamond Owner) credit is ruined and a foreclosure is on their record.

           51.       The USCA Call Script also advises the timeshare owners, including Diamond

    Owners, that if they are “still paying on a mortgage, your attorney will instruct you on when to

    stop making those payments. Usually, it’s right away but again every case can be a little bit

    different.” See Ex. E, Pg. 13 (emphasis added). This type of advertisement is a proximate cause

    of damages to Plaintiffs – holders of the financing contracts – based upon false and misleading

    advertising of the USCA Defendants.

           52.       The foregoing false and misleading advertisements shall collectively be referred to

    as the “USCA Defendant False and Misleading Advertisements.”

           53.       Unfortunately, the USCA Defendant False and Misleading Advertisements lead the

    Diamond Owners to pay the USCA Defendants significant upfront fees for their “services,” but

    such services, promises and guarantees are never delivered or kept by the USCA Defendants, who

    immediately take the fees for themselves, often without performing any type of service for the

    Diamond Owner.




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           54.     Then, to the extent they have not done so already, once the USCA Defendants

    engage the Diamond Owner and take their upfront fees, they encourage or expressly advise the

    Diamond Owner to default on their payment obligations owed to Plaintiffs under the Timeshare

    Contract and disparage Diamond, thereby proximately causing damages to Plaintiffs’ sales and

    reputations.

                               The Newton Defendants and DC Capital

           55.     The Newton Defendants, along with DC Capital, are a group of timeshare exit

    companies that are involved in an interconnected scheme to lure unsuspecting timeshare owners,

    such as the Diamond Owners, into paying them upfront, exorbitant fees to get the owners out of

    their timeshare based on false and misleading advertisements. Gordon Newton is a partner at DC

    Capital and is also responsible for the operations of the Newton Defendants.

           56.     The Newton Defendants bill themselves as “The #1 Trusted Timeshare Exit

    Company” and “The #1 Trusted Name In Timeshare Exit.” See http://newtongrouptransfers.com.

    As part of the scheme, the Newton Defendants and DC Capital convince timeshare owners, such

    as the Diamond Owners, that timeshare ownership is undesirable and that they should stop making

    the payments required under the Timeshare Contracts, which causes harm to Plaintiffs’ sale and

    reputation and, separately, the Diamond Owners.

           57.     Newton Group has at least three related companies.4 The first, Newton ESA, acts

    a marketing company (similar to 1 Planet and Pluto). The “ESA” in Newton ESA’s name stands



    4
      As with the USCA Defendants, it is difficult to decipher, without discovery, the interactions of
    the companies. For example, Newton Group and Newton ESA are so intertwined that the client
    “welcome letter” utilized by the Newton Defendants is signed on behalf of both Newton Group
    and Newton ESA. A copy of one such “welcome letter is attached hereto as Exhibit “F.”
    However, to the extent possible, Plaintiffs have separately identified the improper actions of each
    Newton Defendant and DC Capital herein.



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    for “elite sales associates.” The second, IBD, acts as an unlicensed timeshare broker. The third,

    Newton Exit, holds powers of attorney from Diamond Owners, which grants the Newton

    Defendants vast authority to “transfer, terminate, cancel or otherwise divest” timeshare owners,

    such as the Diamond Owners of their timeshares. A copy of the Newton Defendants’ “Power of

    Attorney” form is attached hereto as Exhibit “G.” In the Power of Attorney, Diamond Owners,

    and any other timeshare owners that sign the Power of Attorney, grant Newton Exit all “necessary”

    powers to terminate the consumers’ timeshare interest, which could include hiring counsel,

    conveying the timeshare interest to a Viking Ship,5 or discontinuing payments required by the

    Timeshare Contracts. See Ex. G. Indeed, while the Power of Attorney outlines some of the actions

    that the Newton Defendants may take once they receive the Power of Attorney, it also expressly

    states that it is not intended to limit the powers granted, but is intended “to expand or enlarge upon

    the same.” See id.

           58.     While not purporting to be a law firm like USCA or DC Capital, the Newton

    Defendants refer Diamond Owners to law firms that purport to be able to eliminate the owners’

    contractual obligations to Diamond but, instead, improperly take referral fees, or otherwise share

    fees among themselves, all while providing no real services to the owners.              The Newton

    Defendants improperly refer clients to both USCA and DC Capital and improperly split fees with

    each of them such that both USCA and DC Capital benefit from the Newton Defendants’ false




    5
      A “Viking Ship” is a method of transfer used by certain timeshare exit companies whereby they
    transfer the timeshare interest to an assetless shell company that has no ability to pay the
    appurtenant maintenance fees and other financial obligations associated therewith. The timeshare
    developer is then forced to foreclose on the timeshare interest or allow it to continue as a non-
    paying timeshare interest owner. This practice has been prohibited in various states, including in
    Florida.



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    and/or misleading advertising. The Newton Defendants each also engage in fee splitting or

    improper commingling of funds amongst each other as well.

           59.     Newton ESA utilizes phone agent cold calling, phone agent lead cultivation, voice

    mail marketing, form emails, fax blasting, text messaging, and direct mail techniques directed, at

    least in part, to Diamond Owners to distribute the false and misleading advertisements that serve

    as the origination for the claims alleged herein.

           60.     The Newton Defendant Letter is an example advertisement sent by Newton ESA or

    Newton Group on behalf of the Newton Defendants. See Ex. B. The Newton Defendant Letter is

    false and misleading because it claims that there are “new Timeshare Laws allowing developers

    to raise maintenance fees with no restriction.” See Ex. B. However, this is patently false as there

    are numerous restrictions or prohibitions on any such effort by a timeshare developer, including

    fiduciary obligations by the various boards of directors and management companies that determine

    and approve maintenance fees – as opposed to timeshare developers. Rather, this type of false and

    misleading advertisement is designed to convince timeshare owners, including Diamond Owners,

    to reconsider their continued ownership of timeshares and to thereafter pay money to the Newton

    Defendants to get out of their timeshare.

           61.     The scheme continues in the Newton Defendant Letter as it states that “experts”

    will be in the local area and that these experts can “explain exactly how we get you out of your

    timeshare contract while, in some cases, recouping a portion of your investment.” See Ex. B. This

    is false and misleading as the Newton Defendants have no particular expertise and neither they,

    nor DC Capital or USCA have a lawful method to assist timeshare owners, such as Diamond

    Owners, to terminate their Timeshare Contracts. Instead, this advertisement is designed solely to




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    mislead the consuming public, including Diamond Owners, and induce them to attend a meeting

    hosted by the Newton Defendants.

           62.     The Newton Defendants also use letters that claim that the consumer has been “pre-

    qualified” to participate in the Newton Defendants’ alleged exit program. This advertisement is

    false and/or misleading as there is no “pre-qualification,” and anyone willing to pay what the

    Newton Defendants demand can become a customer of the Newton Defendants.

           63.     In addition to these letters, the Newton Defendants published a “Consumer’s Guide

    to Timeshare Exit” (the “Newton Defendant Consumer Guide”), which can be found by filling

    out information identified on the Newton Defendants’ websites. For example, a consumer, such

    as a Diamond Owner could obtain the Newton Defendant Consumer Guide by going to

    “https://newtongrouptransfers.com/”. A copy of the Newton Defendant Consumer Guide is

    attached hereto as Exhibit “H.”      In the Newton Defendant Consumer Guide, the Newton

    Defendants state that it is “dangerous” to contact the resort or timeshare developer to discuss an

    exit from their timeshare. However, this statement is false or misleading as it relates to Diamond

    Owners as Diamond offers Transitions® to some Diamond Owners, which can allow for the

    termination of qualifying Diamond Owners’ timeshare interests.

           64.     This advertisement is demonstrative of the Newton Defendants’ scheme because

    there have been numerous instances where Diamond Owners working through Transitions®

    advised that they had paid fees and were working with the Newton Defendants. Thus, while the

    Newton Defendant are aware that Diamond offers a program that assists some Diamond Owners

    with terminating their timeshare interest, the Newton Defendants advertise that it is dangerous to

    contact Diamond to discuss a possible exit from the timeshare. The only purpose for such an

    advertisement is to obtain financial gains for the Newton Defendants, which causes harm to




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    Plaintiffs’ sale and reputations, and to the Diamond Owners who pay hefty fees to the Newton

    Defendants for services that potentially could have been accomplished by the Diamond Owner

    without outside assistance.

           65.     Upon information and belief, the Newton Defendants purchase leads and/or client

    lists from third-party sources to locate prospective victims. The Newton Defendants then engage

    in mass bulk mailing and telemarketing, which advertisements also include false and misleading

    information that is disseminated to Diamond Owners.

           66.     Additionally, the Newton Defendants falsely advertise their “skin in the game

    guarantee” whereby the Newton Defendants state that a consumer will never pay the Newton

    Defendants or the timeshare company any more money because the Newton Defendants will

    become “financially responsible for your timeshare until it is out of your name” and that this is

    important because “[i]n this way, our goals are aligned. The longer it takes us to complete the

    transfer process, the more it cost us in fees to the resort. Both company and client want to see an

    expedient end to your timeshare ownership.” In reality, many consumers, including Diamond

    Owners, have gone into default on their accounts because the Newton Defendants do not assume

    financial responsibility for the timeshare interest and do not make required payments. In this way,

    the Newton Defendants accomplish a “timeshare exit” through default and foreclosure.

           67.     The Newton Defendants, on their websites, also advertise a 100% Money Back

    Guarantee to get timeshare owners, such as Diamond Owners, out of their timeshare and to

    terminate all future financial responsibilities. As with the USCA Defendants, such a guarantee is

    false and misleading because the Newton Defendants, as third parties to the relationship, have no

    ability to terminate the existing Timeshare Contract between Diamond and Diamond Owners and




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    the Newton Defendants have not returned fees paid to Diamond Owners when they have been

    unsuccessful in meeting the guarantee.

           68.     The purpose of the Newton Defendants’ false and/or misleading advertisements is

    to trick the consuming public, including Diamond Owners, in to retaining the Newton Defendants’

    illusory timeshare exit services.

           69.     There are two ways that the Newton Defendants attempt to get Diamond Owners

    out of the Timeshare Contracts. First, the Newton Defendants sometimes attempt to get Diamond

    Owners out of their timeshare by using fraudulent deed transfers or quit claim deeds (or other

    deeds that have not been countersigned by the timeshare company) to transfer the timeshare

    interests from the consumers to a strawman buyer, who then defaults on payments and suffers a

    mass foreclosure, i.e., the “Viking Ship” scheme.

           70.     On other occasions, the Newton Defendants may refer a Diamond Owner to a “law

    firm,” such as USCA or DC Capital. The Newton Defendants advertise that:




           71.     The “law firms,” such as USCA, DC Capital, and several others, then carry on the

    scheme set forth in this Third Amended Complaint. These referrals are a direct result of the false

    and/or misleading advertising engaged in by the Newton Defendants. USCA and DC Capital pay



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    for these false and/or misleading advertising services either through direct payments and/or

    allowing the Newton Defendants to keep a portion (frequently a substantial portion), i.e., an

    improper referral fee, of the fee paid to the Newton Defendants by a Diamond Owner.

            72.    When referring a Diamond Owner to a law firm, the Newton Defendants, in form

    documents (and in advertising contained on their websites) state that the attorney is being retained

    at “no cost” to the owner. This is false and/or misleading because, in reality, retaining the attorney

    is the only thing the Newton Defendants have done for the Diamond Owner. This referral is one

    of the reasons Newton Exit obtains the “Power of Attorney” from Diamond Owners.

            73.    Once referred to the law firm, the law firm furthers and assists in the fraudulent

    scheme by sending standard form letters on behalf of the Diamond Owner to Diamond directing

    that Diamond cease communicating with the Diamond Owner. Examples of such letters sent by

    DC Capital are attached hereto as Composite Exhibit “I.” These letters confirm that DC Capital

    has no method or means to assist the Diamond Owner in exiting their Timeshare Contract; instead,

    they summarily state that the Diamond Owner “has exhausted all known avenue of divestiture to

    no avail” and then requests that the company merely retake the timeshare contract. In due course,

    Diamond notifies DC Capital that the requests to take back the timeshare interests are denied, yet

    DC Capital fails to inform the Diamond Owners of the rejected offer to take back the timeshare

    interest.

            74.    The advertisements listed The Newton Defendants and DC Capital Section of the

    Third Amended Complaint will be referred to as the “Newton Defendants’ False and Misleading

    Advertisements.”




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              Defendants Do Not Provide Legitimate Services to the Diamond Owners

           75.     None of the Defendants has a “process” or “legal” basis for “cancelling” a

    consumer’s timeshare contract. Defendants, through USCA, Newton Group, and/or DC Law (and

    potentially other avenues) send form letters to Diamond with little to no follow-up. Many of these

    letters are nonsensical, reference non-existent or irrelevant laws, and admit that the Diamond

    Owners will default on their payment obligations. The letters admit that a default will occur

    because Defendants have instructed the Diamond Owners to cease making payments and, in fact,

    have promised the Diamond Owners that once the Diamond Owners retain Defendants the

    Diamond Owner) will never have to make another payment to Plaintiffs again.

           76.     The USCA Defendants’ False and Misleading Advertisements and the Newton

    Defendants’ False and Misleading Advertisements (collectively the “False and Misleading

    Advertisements”) are not puffery but are an intentional and malicious fraud. Indeed, the False

    and Misleading Advertisements guarantee success, state that Defendants have a 100% success rate,

    imply that Defendants have a legal process that allows the Diamond Owners to safely exit their

    timeshare, claim that new timeshare laws allow developers to increase maintenance fees without

    restriction and that heirs of the Diamond Owners are required to take the timeshare and the

    appurtenant costs associated therewith – all of which are designed to convince timeshare owners,

    such as the Diamond Owners, to make the decision to terminate their timeshare and pay Defendants

    thousands of dollars for their illusory services. No rational consumer would pay such sums of

    monies to a third-party when Transitions® is an option or when the Diamond Owner could to

    achieve the same results that Defendants can obtain (cancellation, defaults, and/or foreclosures for

    nonpayment) by ceasing payments.




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              77.   The False and Misleading Advertisements cause direct harm to Plaintiffs. The

    False and Deceptive Advertisements make false and/or deceptively misleading statements about

    both Defendants’ products and services and about timeshare generally, which relates to Diamond

    as alleged herein. These statements deceive consumers, including Diamond Owners, into retaining

    Defendants’ services, and also damage Plaintiffs. Defendants’ intention is to improperly interfere

    with Diamond’s contracts with the Diamond Owners.

              78.   The causes of action stated below are alleged to prevent further damages to

    Plaintiffs and to enjoin the illegal practices of Defendants.

                                                COUNT I
                          Violation of the Lanham Act, 15 U.S.C. § 1125(A)(1)
                                     (against the USCA Defendants)

              79.   Plaintiffs adopt and reallege Paragraphs 1 through 78 above as if fully set forth

    herein.

              80.   This is an action for violation of the Lanham Act, 15 U.S.C. § 1125(a)(1) against

    the USCA Defendants. More specifically, this is an action for the USCA Defendants’ False and

    Misleading Advertisements regarding the USCA Defendants’ own products and services.

              81.   Plaintiffs are engaged in commerce within the control of Congress because they

    have a cognizable commercial interest in reputation or sales and fall within the zone of interest

    protected by 15 U.S.C. §1125(a). The USCA Defendants’ actions as alleged herein also constitute

    commerce within the control of Congress.

              82.   The USCA Defendants, through the USCA Defendants’ False and Misleading

    Advertisements, willfully, deliberately, and egregiously made false or misleading statements of

    fact in their commercial advertisements, which were intended to, and did, mislead consumers,

    including the Diamond Owners. The USCA Defendants’ False and Misleading Advertisements,

    are literally false, either on their face or by necessary implication, or are materially misleading.


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           83.     The USCA Defendants used the USCA Defendants’ False and Misleading

    Advertisements and the SEO strategies to directly solicit, amongst others, the Diamond Owners

    and potential customers of Diamond Resorts into their scheme, which financially benefits the

    USCA Defendants and cause damages and harm to Plaintiffs’ sales and reputation by convincing

    Diamond Owners to stop making payments owed under the Timeshare Contracts even though such

    payments are required by legally enforceable contracts. Indeed, the USCA Call Script specifically

    advertises that consumers, including Diamond Owners, will be instructed on when (not if) to stop

    making payments owed to Plaintiffs.

           84.     The USCA Defendants’ False and Misleading Advertisements either deceived or

    had the capacity to deceive a substantial segment of the consuming public, including the Diamond

    Owners. Indeed, Diamond is aware that Diamond Owners who were utilizing Transitions® had

    paid the USCA Defendants thousands of dollars even though they could have potentially used the

    program without paying the USCA Defendants a dollar.

           85.     The USCA Defendants’ deception is material, in that it is likely to influence the

    consumers’ decisions whether to retain Defendants’ services or to cease making payments to

    Diamond. The USCA Defendants’ False and Misleading Advertisements also deter Diamond

    Owners and prospective owners from doing business in the future with Diamond.

           86.     In the event that a Diamond Owner is lured into contacting the USCA Defendants,

    they are then encouraged – if not directly advised – to stop making payments owed to Plaintiffs

    thereby causing damages to Plaintiffs’ sales and reputation.

           87.     The USCA Defendants’ advertised services affect interstate commerce.

           88.     Plaintiffs have been and continue to be injured as a result of the USCA Defendants’

    false and misleading statements.




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              89.      Pursuant to 15 U.S.C. § 1117, Plaintiffs are entitled to recover and are seeking (i)

    their actual damages sustained as a result of the false and misleading advertising, (ii) the USCA

    Defendants’ profits resulting from their false and misleading advertising to Diamond Owners, and

    (iii) the costs of the action.

              90.      Pursuant to 15 U.S.C. § 1116, Plaintiffs seek an injunction upon such terms as the

    Court may deem reasonable, to prevent further violations by the USCA Defendants of 15 U.S.C.

    § 1125(a).

              WHEREFORE, Plaintiffs respectfully request the Court enter final judgment in their favor

    and against the USCA Defendants, jointly and severally, for:

              •     Monetary damages compensating Plaintiffs for harm suffered by Plaintiffs, for

                    corrective advertising, and for disgorgement of the USCA Defendants’ profits, together

                    with interest thereon;

              •     An award of attorneys’ fees and court costs;

              •     Entry of injunctive relief against the USCA Defendants, as well as their agents,

                    representatives, employees and affiliates, prohibiting the USCA Defendants from

                    publishing false and misleading statements in their advertising, including, but not

                    necessarily limited to, the false and misleading advertising alleged herein, on the USCA

                    Defendants’ websites or in any other electronic or print media or materials; and

              •     All such other relief as the Court deems just and proper.

                                                    COUNT II
                              Violation of the Lanham Act, 15 U.S.C. § 1125(A)(1)
                                         (against the Newton Defendants)

              91.      Plaintiffs adopt and reallege Paragraphs 1 through 78 above as if fully set forth

    herein.




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           92.     This is an action for violation of the Lanham Act, 15 U.S.C. § 1125(a)(1), against

    the Newton Defendants. More specifically, this is an action based on the Newton Defendants’

    False and Misleading Advertisements regarding the Newton Defendants’ own products and

    services.

           93.     Plaintiffs are engaged in commerce within the control of Congress because they

    have a cognizable commercial interest in reputation or sales and fall within the zone of interest

    protected by 15 U.S.C. § 1125(a). The Newton Defendants’ actions as alleged herein also

    constitute commerce within the control of Congress.

           94.     The Newton Defendants, through the Newton Defendants’ False and Misleading

    Advertisements, willfully, deliberately, and egregiously make false or misleading statements of

    fact in their commercial advertisements, which were intended to, and did, mislead consumers,

    including the Diamond Owners. The Newton Defendants’ False and Misleading Advertisements,

    are literally false, either on their face or by necessary implication, or are materially misleading.

           95.     The Newton Defendants targeted Diamond Owners by buying leads of timeshare

    owners, including the Diamond Owners, for unsolicited phone calls and direct mailers. Then, the

    Newton Defendants used the Newton Defendants’ False and Misleading Advertisements to solicit,

    amongst others, the Diamond Owners into their scheme, which financially benefits the Newton

    Defendants and cause damages and harm to Plaintiffs’ sales and reputation by convincing

    Diamond Owners to stop making payments owed under the Timeshare Contracts even though such

    payments are required by legally enforceable contracts. Indeed, the Newton Defendants’ False

    and Misleading Advertisements mislead Diamond Owners into believing that the “exit program”

    allows them to ignore their financial obligations owed under the Timeshare Contracts once they

    retain the Newton Defendants, which is false and misleading because those financial obligations




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    remain due, outstanding, and are often unpaid once Diamond Owners engage with the Newton

    Defendants. This causes damage to Plaintiffs’ sales and reputation.

            96.     The Newton Defendants’ False and Misleading Advertisements either deceived or

    had the capacity to deceive a substantial segment of the consuming public, including the Diamond

    Owners. Indeed, Diamond is aware that Diamond Owners who were utilizing Transitions® had

    paid the Newton Defendants thousands of dollars even though they could have potentially used

    the program without paying the USCA Defendants a dollar.

            97.     The Newton Defendants’ deception is material, in that it is likely to influence the

    consumers’ decisions whether to retain Defendants’ services or to cease making payments to

    Diamond. The Newton Defendants’ False and Misleading Advertisements also deter Diamond

    Owners and prospective owners from doing business in the future with Diamond.

            98.     Once a Diamond Owner is lured into contacting the Newton Defendants, they are

    then encouraged – if not directly advised – to stop making payments owed to Plaintiffs thereby

    causing damages to Plaintiffs’ sales and reputation.

            99.     The Newton Defendants’ advertised services affect interstate commerce.

            100.    Plaintiffs have been and continue to be injured as a result of the Newton

    Defendants’ false and misleading statements.

            101.    Pursuant to 15 U.S.C. § 1117, Plaintiffs are entitled to recover and are seeking (i)

    their actual damages sustained as a result of the false and misleading advertising, (ii) the Newton

    Defendants’ profits resulting from their false and misleading advertising to Diamond Owners, and

    (iii) the costs of the action.




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              102.      Pursuant to 15 U.S.C. § 1116, Plaintiffs seek an injunction upon such terms as the

    Court may deem reasonable, to prevent further violations by the Newton Defendants of 15 U.S.C.

    § 1125(a).

              WHEREFORE, Plaintiffs respectfully request the Court enter final judgment in their favor

    and against the Newton Defendants, jointly and severally, for:

              •   Monetary damages compensating Plaintiffs for harm suffered by Plaintiffs, for

                  corrective advertising, and for disgorgement of the Newton Defendants’ profits,

                  together with interest thereon;

              •   An award of attorneys’ fees and court costs;

              •   Entry of injunctive relief against the Newton Defendants, as well as their agents,

                  representatives, employees and affiliates, prohibiting the Newton Defendants from

                  publishing false and misleading statements in their advertising, including, but not

                  necessarily limited to, the false and misleading advertising alleged herein, on the

                  Newton Defendants’ websites or in any other electronic or print media or materials;

                  and

              •   All such other relief as the Court deems just and proper.

                                           COUNT III
      Contributory False Advertising in Violation of the Lanham Act, 15 U.S.C. § 1125(A)(1)
                                         (against USCA)

              103.      Plaintiffs adopt and reallege Paragraphs 1 through 78 above as if fully set forth

    herein.

              104.      This is an action for a contributory violation of the Lanham Act, 15 U.S.C.

    § 1125(a)(1).




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            105.    The USCA Defendants (except USCA) willfully, deliberately, and egregiously

    made false or misleading statements of fact in their commercial advertisements and intended to

    mislead consumers. The statements described above and incorporated herein were literally false,

    either on their face or by necessary implication, as set forth herein.

            106.    Plaintiffs have been and continues to be injured as a result of the USCA

    Defendants’ (except USCA) false and misleading statements.

            107.    USCA has contributed and continues to contribute to the other USCA Defendants’

    false advertising by knowingly inducing or causing the conduct, or by materially participating in

    it and/or accepting the benefits of it.

            108.    USCA explicitly or implicitly encourages the false advertising because it accepts

    legal representation of the consumers deceived by the false advertising.        Without USCA’s

    willingness to accept those consumers as clients, the USCA Defendants (except USCA) could not

    advertise what they do.

            109.    The USCA Defendants’ (except USCA) false advertisements are public, serious,

    and widespread, and USCA has full knowledge of such advertising and condones it.

            110.    More than that, USCA financially gains from the false advertisements in the form

    of client referrals and fee splitting with the USCA Defendants (except USCA).

            111.    In other words, USCA’s business derives much, if not all, of its revenue from the

    consumers solicited through the USCA Defendants’ (except USCA) false advertising.

            112.    Pursuant to 15 U.S.C. § 1117, Plaintiffs are entitled to recover (i) their actual

    damages sustained as a result of the false advertising by the USCA Defendants (except USCA),

    (ii) USCA’s profits resulting from the USCA Defendants’ (except USCA) false advertising to

    Diamond Owners, and (iii) the costs of the action.




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              113.   Pursuant to 15 U.S.C. § 1116, Plaintiffs seek an injunction upon such terms as the

    Court may deem reasonable, to prevent further contributory violations by USCA of 15 U.S.C. §

    1125(a).

              WHEREFORE, Plaintiffs respectfully request the Court enter final judgment in their favor

    and against USCA for:

              •   Monetary damages compensating Plaintiffs for harm suffered by Plaintiffs, for

                  corrective advertising, and for disgorgement of USCA’s profits, together with interest

                  thereon;

              •   An award of attorneys’ fees and court costs;

              •   Entry of injunctive relief against USCA, as well as their agents, representatives,

                  employees and affiliates, prohibiting USCA from publishing false and misleading

                  statements in their advertising, including, but not necessarily limited to, the false and

                  misleading advertising alleged herein, on USCA’s websites or in any other electronic

                  or print media or materials; and

              •   All such other relief as the Court deems just and proper.

                                           COUNT IV
      Contributory False Advertising in Violation of the Lanham Act, 15 U.S.C. § 1125(A)(1)
                                (against the DC Capital & USCA)

              114.   Plaintiffs adopt and reallege Paragraphs 1 through 78 above as if fully set forth

    herein.

              115.   This is an action for a contributory violation of the Lanham Act, 15 U.S.C.

    § 1125(a)(1).

              116.   The Newton Defendants willfully, deliberately, and egregiously made false or

    misleading statements of fact in their commercial advertisements and intended to mislead




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    consumers. The statements described above and incorporated herein were literally false, either on

    their face or by necessary implication, as set forth herein.

            117.    Plaintiffs have been and continue to be injured as a result of the Newton

    Defendants’ false and misleading statements.

            118.    DC Capital and USCA have contributed and continue to contribute to the Newton

    Defendants’ false advertising by knowingly inducing or causing the conduct, or by materially

    participating in it and/or accepting the benefits of it.

            119.    DC Capital and USCA explicitly or implicitly encourage the false advertising

    because they accept legal representation of the consumers deceived by the false advertising.

    Without DC Capital and USCA’s willingness to accept those consumers as clients, the Newton

    Defendants could not advertise what they do.

            120.    The Newton Defendants’ false advertisements are public, serious, and widespread,

    and DC Capital and USCA have full knowledge of such advertising and condone it.

            121.    More than that, DC Capital and USCA financially gain from the false

    advertisements in the form of client referrals and fee splitting with the Newton Defendants.

            122.    DC Capital and USCA’s businesses derive much, if not all, of their revenue from

    the consumers solicited through the Newton Defendants’ false advertising.

            123.    Pursuant to 15 U.S.C. § 1117, Plaintiffs are entitled to recover (i) their actual

    damages sustained as a result of the false advertising by the Newton Defendants, (ii) DC Capital

    and USCA’s profits resulting from the Newton Defendants’ false advertising to Diamond Owners,

    and (iii) the costs of the action.




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              124.   Pursuant to 15 U.S.C. § 1116, Plaintiffs seek an injunction upon such terms as the

    Court may deem reasonable, to prevent further contributory violations by USCA of 15 U.S.C. §

    1125(a).

              WHEREFORE, Plaintiffs respectfully request the Court enter final judgment in their favor

    and against USCA and DC Capital, jointly and severally, for:

              •   Monetary damages compensating Plaintiffs for harm suffered by Plaintiffs, for

                  corrective advertising, and for disgorgement of USCA and DC Capital’s profits,

                  together with interest thereon;

              •   An award of attorneys’ fees and court costs;

              •   Entry of injunctive relief against USCA and DC Capital, as well as their agents,

                  representatives, employees and affiliates, prohibiting USCA and DC Capital from

                  publishing false and misleading statements in their advertising, including, but not

                  necessarily limited to, the false and misleading advertising alleged herein, on USCA

                  and DC Capital’s websites or in any other electronic or print media or materials; and

              •   All such other relief as the Court deems just and proper.

                                                  COUNT V
                             Tortious Interference with Contractual Relations
                                       (against the USCA Defendants)

              125.   Plaintiffs adopt and reallege Paragraphs 1 through 78 above as if fully set forth

    herein.

              126.   This is a cause of action for tortious interference with existing contracts.

              127.   Plaintiffs have valid and legally enforceable Timeshare Contracts with the

    Diamond Owners relating to the Diamond Owners’ timeshare interests and the payment

    obligations owed thereunder.




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           128.    The USCA Defendants have actual, constructive, and/or specific knowledge of the

    contractual relationships between Plaintiffs and the Diamond Owners. The very fact that Plaintiffs

    have a contractual relationship with the Diamond Owners is the basis upon which the USCA

    Defendants sought to establish a relationship with the Diamond Owners. Indeed, if it were not for

    the existence of the contractual relationships between Diamond and the Diamond Owners, the

    USCA Defendants would have no reason to exist.

           129.    The USCA Defendants: 1) solicit the Diamond Owners through USCA Defendants’

    False and Misleading Advertisements; 2) fraudulently induce the Diamond Owners to pay large

    upfront fees to the USCA Defendants instead of making their legally due and owing payments to

    the Plaintiffs (while providing little to no actual services of behalf of the Diamond Owners); and

    3) encourage or direct the Diamond Owners to stop making payments due to Plaintiffs under the

    Timeshare Contracts. These actions constitute an improper and unjustifiable interference with the

    contractual relationship between Plaintiffs and the Diamond Owners.

           130.    The USCA Defendants’ actions were done with an improper motive and not made

    in good faith, but rather were made with the knowledge and predominant purpose to injure

    Plaintiffs or with reckless disregard for the attendant consequences naturally, directly, and

    proximately resulting from the USCA Defendants’ actions and without reasonable grounds for the

    USCA Defendants to believe that their actions were justified and proper.

           131.    As a direct and proximate result of the USCA Defendants’ intentional misconduct,

    Diamond Owners have terminated, defaulted, or have baselessly sought to terminate, their

    contractual relationships with Plaintiffs, which causes damage to Plaintiffs. Moreover, these

    terminations, and attempted terminations, also interfere with Plaintiffs’ ability to enter into

    subsequent transactions with those same Diamond Owners.




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               132.   The USCA Defendants did not and do not have any justification or privilege in

    procuring the breach of such contractual relationships, as the USCA Defendants are strangers to

    the contractual relationships between Diamond and the Diamond Owners, and their interference

    with Plaintiffs’ business is willful and malicious.

               133.   Plaintiffs are entitled to damages against all USCA Defendants jointly and

    severally.

               134.   The USCA Defendants’ ongoing conduct has caused and, if not permanently

    enjoined, will continue to cause irreparable harm to Plaintiffs in the disruption of customer and

    other contractual relations; therefore, Plaintiffs do not have an adequate remedy at law.

               135.   The USCA Defendants’ conduct is intentional and willful and entitles Plaintiffs to

    an award of punitive damages.

               WHEREFORE, Plaintiffs respectfully request the Court enter final judgment in their favor

    and against the USCA Defendants, jointly and severally, for actual damages, together with interest

    thereon, punitive damages, an award of court costs, entry of injunctive relief, and for such other

    and further relief as the Court deems appropriate. Plaintiffs demand a permanent injunction be

    entered against the USCA Defendants and their agents, representatives, employees, and affiliates,

    prohibiting the USCA Defendants from contacting Diamond Owners and/or otherwise interfering

    with Plaintiffs’ contractual relationships with such Diamond Owners.

                                               COUNT VI
                             Tortious Interference with Contractual Relations
                               (against the Newton Defendants and DC Law)

               136.   Plaintiffs adopt and reallege Paragraphs 1 through 78 above as if fully set forth

    herein..

               137.   This is a cause of action for tortious interference with existing contracts.




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           138.    Plaintiffs have valid and legally enforceable Timeshare Contracts with the

    Diamond Owners relating to the Diamond Owners’ timeshare interests and the payment

    obligations owed thereunder.

           139.    The Newton Defendants and DC Capital have actual, constructive, and/or specific

    knowledge of the contractual relationships between Plaintiffs and the Diamond Owners. The very

    fact that Plaintiffs have a contractual relationship with the Diamond Owners is the basis upon

    which the Newton Defendants and DC Capital sought to establish a relationship with the Diamond

    Owners. Indeed, if it were not for the existence of the contractual relationships between Diamond

    and the Diamond Owners, the Newton Defendants and DC Capital would have no reason to exist.

           140.    The Newton Defendants and DC Capital: 1) solicit the Diamond Owners through

    Newton Defendants’ False and Misleading Advertisements, 2) fraudulently induce the Diamond

    Owners to pay large upfront fees to the Newton Defendants and/or DC Capital instead of making

    their legally due and owing payments to the Plaintiffs (while providing little to no actual services

    of behalf of the Diamond Owners), and 3) encourage or direct the Diamond Owners to stop making

    payments due to Plaintiffs under the Timeshare Contracts. These actions constitute an improper

    and unjustifiable interference with the contractual relationship between Plaintiffs and the Diamond

    Owners.

           141.    The Newton Defendants and DC Capital’s actions were done with an improper

    motive and not made in good faith, but rather were made with the knowledge and predominant

    purpose to injure Plaintiffs or with reckless disregard for the attendant consequences naturally,

    directly, and proximately resulting from the Newton Defendants and DC Capital’s actions and

    without reasonable grounds for the Newton Defendants and DC Capital to believe that their actions

    were justified and proper.




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           142.    As a direct and proximate result of the Newton Defendants and DC Capital’s

    intentional misconduct, Diamond Owners have terminated, defaulted, or have baselessly sought to

    terminate, their contractual relationships with Plaintiffs, which causes damage to Plaintiffs.

    Moreover, these terminations, and attempted terminations, also interfere with Plaintiffs’ ability to

    enter into subsequent transactions with those same Diamond Owners.

           143.    The Newton Defendants and DC Capital did not and do not have any justification

    or privilege in procuring the breach of such contractual relationships, as the Newton Defendants

    and DC Capital are strangers to the contractual relationships between Plaintiffs and the Diamond

    Owners, and their interference with Plaintiffs’ business is willful and malicious.

           144.    Plaintiffs are entitled to damages against all Newton Defendants and DC Capital

    jointly and severally.

           145.    The Newton Defendants and DC Capital’s ongoing conduct has caused and, if not

    permanently enjoined, will continue to cause irreparable harm to Plaintiffs in the disruption of

    customer and other contractual relations; therefore, Plaintiffs do not have an adequate remedy at

    law.

           146.    The Newton Defendants and DC Capital’s conduct is intentional and willful and

    entitles Plaintiffs to an award of punitive damages.

           WHEREFORE, Plaintiffs respectfully request the Court enter final judgment in their favor

    and against the Newton Defendants and DC Capital, jointly and severally, for actual damages,

    together with interest thereon, punitive damages, an award of court costs, entry of injunctive relief,

    and for such other and further relief as the Court deems appropriate. Plaintiffs demand a permanent

    injunction be entered against the Newton Defendants and DC Capital and their agents,

    representatives, employees, and affiliates, prohibiting the Newton Defendants and DC Capital




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    from contacting Diamond Owners and/or otherwise interfering with Plaintiffs’ contractual

    relationships with such Diamond Owners.

                                                COUNT VII
                                              Civil Conspiracy
                                           (against all Defendants)

              147.   Plaintiffs adopt and reallege Paragraphs 1 through 78 above as if fully set forth

    herein.

              148.   This is a cause of action for civil conspiracy to interfere with existing and future

    contractual relations and for damages in excess of $75,000.00, exclusive of interest, attorney’s fees

    and costs, and is within this Court’s jurisdiction.

              149.   Defendants are parties to a civil conspiracy. Defendants had a common design,

    each having the intent and knowledge of the others’ intent to accomplish by concerted action

    unlawful purposes and/or lawful purposes by unlawful means.

              150.   Defendants conspired to do an unlawful act to cause Plaintiffs harm. Defendants

    acted in concert with a common design, scheme, or plan to bring about a desired result and/or

    accomplish a preconceived plan for financial gain to the detriment of Plaintiffs through unlawful

    and/or illegal means of interfering with Plaintiffs’ contractual relations with the Diamond Owners

    and collectively causing them to breach their Timeshare Contracts with Plaintiffs.

              151.   Each Defendant committed or engaged in an overt act in furtherance of their

    unlawful conspiracy to interfere with Plaintiffs’ contractual relations or to induce Plaintiffs’

    customers to breach their Timeshare Contracts.

              152.   Defendants conspired to interfere with Plaintiffs’ contractual relationships with the

    Diamond Owners and/or were directed by other Defendants to interfere with Plaintiffs’ contractual

    relationships with the Diamond Owners.




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              153.   As a direct and proximate result of Defendants’ civil conspiracy, Diamond Owners

    have unlawfully terminated, or have sought to terminate, their Timeshare Contracts with Plaintiffs.

              154.   Defendants did not have any justification or privilege in procuring the breach of

    such Timeshare Contracts. As a direct and proximate result of the foregoing actions, Plaintiffs

    suffered damages.

              155.   Defendants, acting in concert, have engaged in an unlawful scheme to take

    advantage of timeshare owners and cause Diamond and its business millions of dollars in actual

    damages.

              156.   Defendants are jointly and severally liable to Plaintiffs for damages.

              157.   Defendants maliciously and purposefully act, using shell companies and numerous

    websites, as well as lawyers who only advertise other fields of legal practice, to hide their

    misconduct, and to divert and abscond with funds from Diamond Owners and interfere with the

    contractual relationships between Diamond Owners and Diamond.

              158.   Defendants acted willfully and with malice in taking these actions.

              159.   Defendants’ conduct therefore entitles Plaintiffs to an award of punitive damages.

              WHEREFORE, Plaintiffs request the Court enter final judgment in their favor and against

    Defendants, jointly and severally, for actual damages, together with interest thereon, punitive

    damages, an award of court costs, entry of injunctive relief, and for such other and further relief as

    the Court deems appropriate.

                                                COUNT VIII
                     Violations of Florida’s Deceptive and Unfair Trade Practices Act
                                           (against all Defendants)

              160.   Plaintiffs adopt and reallege Paragraphs 1 through 78 above as if fully set forth

    herein.




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           161.    This is a cause of action for damages and permanent injunctive relief under

    Section 501.211, Fla. Stat.

           162.    Plaintiffs are legitimate business enterprises under the Florida Deceptive and Unfair

    Trade Practices Act (“FDUTPA”).

           163.    Diamond Owners are consumers for purposes of FDUTPA.

           164.    Defendants are engaged in trade or commerce as those terms are defined by

    FDUTPA.

           165.    Defendants are engaged in deceptive and unfair practices, including luring

    Diamond Owners into procuring Defendants’ illusory services with false advertising and using

    misrepresentations to convince Diamond Owners to pay substantial fees to “cancel” their contracts

    with Plaintiffs, when, in many instances, a lawful termination is only available to consumers

    directly from Plaintiffs.

           166.    Section 501.211(1), Fla. Stat., “permits a claim for injunctive relief by ‘anyone

    aggrieved’ by an unfair or deceptive act, which has occurred, is now occurring, or is likely to occur

    in the future.” Diamond Vacation Resorts, Inc. v. Timeshare Direct, Inc., 123 So.3d 1149, 1152

    (Fla. 5th DCA 2012).

           167.    Under Section 501.211(1), Fla. Stat., “anyone aggrieved” includes a broader class

    of complainants than merely consumers; the scope of the injunctive remedy is also greater than

    the actual damage remedy under § 510.211(2), Fla. Stat. Id.; see also Kinger v. Weekly World

    News, Inc., 747 F. Supp. 1477, 1480 (S.D. Fla. 1990).

           168.    Plaintiffs are parties aggrieved by Defendants’ violation of FDUTPA,

    Section 501.204(1), Fla. Stat.

           169.    As a result of Defendants’ actions, Plaintiffs have suffered financial loss.




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          170.    Plaintiffs’ losses will increase unless Defendants are permanently enjoined from

   continuing their deceptive and unfair business practices.

          171.    Plaintiffs are entitled to recover their attorney’s fees and costs from Defendants

   under Sections 501.2105 and 501.211, Fla. Stat.

          WHEREFORE, Plaintiffs respectfully request the Court enter injunctive relief against all

   Defendants, award Plaintiffs their costs, including their reasonable attorney’s fees, and for such

   other and further relief as the Court deems appropriate.



   Dated: July 31, 2019.

                                                     s/Brandon T. Crossland
                                                     Brandon T. Crossland
                                                     Florida Bar No. 0021542
                                                     Julie Singer Brady
                                                     Florida Bar No. 0389315
                                                     Catherine E. Woltering
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                                                     200 South Orange Avenue
                                                     Post Office Box 112
                                                     Orlando, Florida 32801
                                                     Telephone: 407-649-4000
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                                                              jsingerbrady@bakerlaw.com
                                                              cwoltering@bakerlaw.com

                                                     Attorneys for Plaintiffs




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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on July 31, 2019, I electronically filed the foregoing with the

   Clerk of the Court by using the CM/ECF system, which will send a Notice of Electronic Filing to

   all counsel of record.


                                                        s/Brandon T. Crossland
                                                        Brandon T. Crossland
   4829-0823-9516.1




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                        Exhibit C
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                                                                   Cynthia Stoddard Hulce, Esq.
                                                                   Sr. Professional Liability Claim Consultant
                                                                   616.206.2963
                                                                  chulce@hanover.com




Via Electronic Mail

March 11, 2019

Ms Nadine Chabrier
DC Law
700 12th Street NW, Suite 700
Washington DC 2005

                                       DENIAL OF COVERAGE



Re:    Notice of Claim:               01/09/2019
       Claimant:                      Diamond Resorts, et al
       Hanover File:                  19-00366988
       Hanover Policy:                LHY-D795443-00
       Policy Effective Date:         1/28/2018 1/28/2019

Dear Mr. Chabrier:

This letter acknowledges receipt of the lawsuit entitled, Diamond Resorts, et al v DC Law, et al. USDC
SD Florida, 9:18-cv-80311. The lawsuit is contained within the second amended complaint filed by
Diamond Resorts, et al on November 30, 2018. The lawsuit was served on your registered agent on
December 19, 2018.

You are insured by Hanover Insurance Company under a Lawyers Professional Liability Insurance
Policy LHY D 795443 00 with effective dates December 21, 2018 December 21, 2019 and provides
limits of $1,000,000 and a deductible of $1,000.00 per claim. The retroactive date is December 21,
2017.

I regret to inform you that there is no coverage available to you or the Firm for the lawsuit filed prior to
and served prior to your effective date of coverage. The claim was first made prior to the effective date
of your policy, it was reported during the policy period; however, a claim must be both first made and
reported during the effective policy period. Accordingly, there is no coverage available for either a
defense or indemnification of the claims made in the lawsuit referenced above.

The policy provides the following notice:

       NOTICE: THIS POLICY IS WRITTEN ON A CLAIMS-MADE BASIS. SUBJECT TO
       ITS TERMS, THIS POLICY APPLIES ONLY TO CLAIMS FIRST MADE AGAINST
       THE INSUREDS DURING THE POLICY PERIOD OR ANY APPLICABLE
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       EXTENDED REPORTING PERIOD.      THE LIMITS OF LIABILITY CAN BE
       COMPLETELY EXHAUSTED BY DEFENSE EXPENSES AND DEFENSE EXPENSES
       WILL BE APPLIED AGAINST THE DEDUCTIBLE. THE INSURER WILL HAVE NO
       LIABILITY FOR DEFENSE EXPENSES OR THE AMOUNT OF ANY JUDGEMENT
       OR SETTLEMENT IN EXCESS OF THE APPLICABLE LIMIT OF LIABILITY.
       PLEASE READ THE ENTIRE POLICY CAREFULLY.

As detailed below, the claim was first made before the inception date of your policy.

Your policy provides the following insuring agreement:

I. INSURING AGREEMENTS
A.1. Professional Services Liability

The Insurer will pay on behalf of the Insured, Loss which the Insured is legally obligated to pay due
to a Claim first made against the Insured during the Policy Period, or the Extended Reporting Period if
applicable, arising from a Wrongful Act in the rendering or failure to render Professional Services,
provided that:

       1. The Wrongful Act must have first occurred on or after the applicable Retroactive Date(s);
       2. The Insured had no knowledge of the Claim or facts which could have reasonably caused
       such Insured to foresee the Claim, prior to the effective date of this Policy; and
       3. The Claim or Potential Claim is reported to the Insurer pursuant to Section X. Reporting.


Your policy further defines claim as:

Claim means any:

       A. Oral or written demand received by an Insured for monetary or non-monetary relief including
           injunctive relief;
       B. Civil proceeding commenced by the service of a complaint or similar pleading;
       C. Formal administrative or regulatory proceeding commenced by the filing of charges, formal
       investigative order or similar document;
       D. Arbitration or mediation proceeding commenced by the receipt of a demand for arbitration or
       mediation or similar document; or
       E. Written request first received by an Insured to toll or waive a statute of limitations relating to
       a potential Claim described in A. through D. above; Against an Insured for a Wrongful Act,
       including any appeal therefrom. [emphasis added]

The lawsuit was filed on November 30, 2018 and served on your authorized agent on December 19,
2018; accordingly, and pursuant to the terms of your insuring agreement, there is no coverage available
for this matter. A “claim” means any civil proceeding commenced by the service of a complaint, which
in fact occurred prior to the effective date of this policy.

As noted, Hanover will not be providing coverage for the Claim under the Policy. This also means that Hanover
will not be providing a defense to you for the Claim under the Policy. Hanover reserves the right to modify its
determination concerning this Claim for coverage under the Policy if we are subsequently provided information
warranting any modification. All future communication of Hanover is subject to this full reservation of rights
under the Policy and applicable law.
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                                                                        Cynthia Stoddard Hulce, Esq.
                                                                        Sr. Professional Liability Claim Consultant
                                                                        616.206.2963
                                                                       chulce@hanover.com




If you believe that there are additional facts that would be material to our analysis, please provide the additional
written information or documentation to us within seven (7) business days.

Thank you for reporting this matter.


/s/ Cynthia Stoddard Hulce
Cynthia Stoddard Hulce
Sr. Professional Liability Claim Consultant



Fraud Warning Statement for all States (except as individually listed below):
Any person who knowingly and with intent to defraud any insurance company or other person files an
application for insurance
containing any materially false information or conceals, for the purpose of misleading, information
concerning any fact material
thereto commits a fraudulent insurance act, which is a crime and subjects that person to criminal and
civil penalties (In Oregon, theaforementioned actions may constitute a fraudulent insurance act which
may be a crime and may subject the person to penalties). (InNew York, the civil penalty is not to exceed
five thousand dollars ($5,000) and the stated value of the claim for each such violation). (Notapplicable
in AL, AR, AZ, CA, CO, DC, FL, KS, LA, ME, MD, MN, NM, OK, PR, RI, TN, VA, VT, WA and
WV).
APPLICABLE IN AL, AR, DC, LA, MD, NM, RI, TX (Workers’ Compensation Only), and WV: Any
person who knowingly (or willfully in MD) presents false or fraudulent claim for payment of a loss or
benefit or who knowingly (or willfully in MD) presents false information in an application for insurance
is guilty of a crime and may be subject to fines or confinement in prison.
APPLICABLE IN ARIZONA: For your protection Arizona law requires the following statement to
appear on this form. Any person who knowingly presents a false or fraudulent claim for payment of a
loss is subject to criminal and civil penalties.
APPLICABLE IN CALIFORNIA: For your protection California law requires the following to appear
on this form or other explanatory words of similar meaning: Any person who knowingly presents false
or fraudulent claim for the payment of a loss is guilty of a crime and may be subject to fines and
confinement in state prison.
APPLICABLE IN COLORADO: It is unlawful to knowingly provide false, incomplete, or misleading
facts or information to an insurance company for the purpose of defrauding or attempting to defraud the
company. Penalties may include imprisonment, fines, denial of insurance and civil damages. Any
insurance company or agent of an insurance company who knowingly provides false, incomplete, or
misleading facts or information to a policyholder or claimant for the purpose of defrauding or attempting
to defraud the policyholder or
claimant with regard to a settlement or award payable from insurance proceeds shall be reported to the
Colorado Division of Insurance within the department of regulatory agencies.
APPLICABLE IN DELAWARE, FLORIDA and OKLAHOMA: Any person who knowingly and with
intent to injure, defraud, or deceive any insurer files a statement of claim or an application containing
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any false, incomplete, or misleading information is guilty of a felony (In FL, a person is guilty of a
felony of the third degree).
APPLICABLE IN KANSAS: Any person who, knowingly and with intent to defraud, presents, causes
to be presented or prepares with knowledge or belief that it will be presented to or by an insurer,
purported insurer, broker or any agent thereof, any written statement as part of, or in support of, an
application for the issuance of, or the rating of an insurance policy for personal or commercial insurance,
or a claim for payment or other benefit pursuant to an insurance policy for commercial or personal
insurance which such person knows to contain materially false information concerning any fact material
thereto; or conceals, for the purpose of misleading, information concerning any fact material thereto
commits a fraudulent insurance act.
APPLICABLE IN MAINE, TENNESSEE, VIRGINIA, WASHINGTON AND NORTH CAROLINA: It
is a crime to knowingly provide false, incomplete or misleading information to an insurance company
for the purpose of defrauding the company. Penalties may include imprisonment, fines or a denial of
insurance benefits.
APPLICABLE IN INDIANA: A person who knowingly and with intent to defraud an insurer files a
statement of claim containing any false, incomplete, or misleading information commits a felony.
APPLICABLE IN KENTUCKY: Any person who knowingly and with intent to defraud any insurance
company or other person files a statement of claim containing any materially false information or
conceals, for the purpose of misleading, information concerning any fact material thereto commits a
fraudulent insurance act, which is a crime.
APPLICABLE IN NEW HAMPSHIRE: Any person who with a purpose to injure, defraud or deceive
any insurance company, files a statement of claim containing false, incomplete or misleading
information is subject to prosecution and punishment for insurance fraud, as provided in RSA 638:20.
APPLICABLE IN MINNESOTA: A person who files a claim with intent to defraud or helps commit a
fraud against an insurer is guilty of a crime. MN Workers’ Compensation Only: Any person who with
intent to defraud, receives workers compensation benefits to which the person is not entitled by
knowingly misrepresenting, misstating, or failing to disclose any material fact is guilty of theft and shall
be sentenced pursuant to s 609.52, subdivision 3.
PENNSYLVANIA Motor Vehicle Only: Any person who knowingly and with intent to injure or defraud
any insurer files an application or claim containing any false, incomplete or misleading information
shall, upon conviction, be subject to imprisonment for up to seven years and payment of a fine of up to
$15,000.
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                                                AM



        FORM 1.997.        CIVIL COVER SHEET

        The civil cover sheet and the information contained in it neither replace nor supplement the filing
        and service of pleadings or other documents as required by law. This form must be filed by the
        plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
        to section 25.075, Florida Statutes. (See instructions for completion.)


                I.       CASE STYLE

                     IN THE CIRCUIT/COUNTY COURT OF THE FIFTEENTH JUDICIAL CIRCUIT,
                              IN AND FOR PALM BEACH COUNTY, FLORIDA

        DC CAPITAL LAW FIRM LLP
        Plaintiff                                                                Case #
                                                                                 Judge
        vs.
       THE HANOVER INSURANCE COMPANY
        Defendant



                II.      AMOUNT OF CLAIM
       Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
       the claim is requested for data collection and clerical processing purposes only. The amount of the claim
       shall not be used for any other purpose.

        ☐ $8,000 or less
        ☐ $8,001 - $30,000
        ☐ $30,001- $50,000
        ☐ $50,001- $75,000
        ☐ $75,001 - $100,000
        ☒ over $100,000.00

                III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
        definitive category.) If the most descriptive label is a subcategory (is indented under a broader
        category), place an x on both the main category and subcategory lines.




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  CIRCUIT CIVIL

  ☐ Condominium
  ☒ Contracts and indebtedness
  ☐ Eminent domain
  ☐ Auto negligence
  ☐ Negligence—other
         ☐ Business governance
         ☐ Business torts
         ☐ Environmental/Toxic tort
         ☐ Third party indemnification
         ☐ Construction defect
         ☐ Mass tort
         ☐ Negligent security
         ☐ Nursing home negligence
         ☐ Premises liability—commercial
         ☐ Premises liability—residential
  ☐ Products liability
  ☐ Real Property/Mortgage foreclosure
        ☐ Commercial foreclosure
        ☐ Homestead residential foreclosure
        ☐ Non-homestead residential foreclosure
        ☐ Other real property actions

  ☐Professional malpractice
        ☐ Malpractice—business
        ☐ Malpractice—medical
        ☐ Malpractice—other professional
  ☐ Other
        ☐ Antitrust/Trade regulation
        ☐ Business transactions
        ☐ Constitutional challenge—statute or ordinance
        ☐ Constitutional challenge—proposed amendment
        ☐ Corporate trusts
        ☐ Discrimination—employment or other
        ☐ Insurance claims
        ☐ Intellectual property
        ☐ Libel/Slander
        ☐ Shareholder derivative action
        ☐ Securities litigation
        ☐ Trade secrets
        ☐ Trust litigation


  COUNTY CIVIL

  ☐ Small Claims up to $8,000
  ☐ Civil
  ☐ Real property/Mortgage foreclosure
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   ☐ Replevins
   ☐ Evictions
         ☐ Residential Evictions
         ☐ Non-residential Evictions
   ☐ Other civil (non-monetary)

                                        COMPLEX BUSINESS COURT

  This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
  Administrative Order. Yes ☐ No ☒

           IV.   REMEDIES SOUGHT (check all that apply):
           ☒ Monetary;
           ☐ Nonmonetary declaratory or injunctive relief;
           ☐ Punitive

           V.     NUMBER OF CAUSES OF ACTION: [ ]
           (Specify)

             I

           VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                   ☐ yes
                   ☒ no

           VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                   ☒ no
                   ☐ yes If “yes,” list all related cases by name, case number, and court.
                   NA
           VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                 ☒ yes
                 ☐ no

   I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
   my knowledge and belief, and that I have read and will comply with the requirements of
   Florida Rule of Judicial Administration 2.425.

   Signature: s/ Robert C. Hubbard                        Fla. Bar # 98996
                  Attorney or party                                      (Bar # if attorney)

  Robert C. Hubbard                                03/10/2022
   (type or print name)                            Date




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